Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 1 of 77 Page ID #:443



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        PRO WATER SOLUTIONS, INC., a California corporation
    7

    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11   PRO WATER SOLUTIONS, INC.                   )   Case No. 2:19-CV-08704-ODW
                                                    )   (SSx)
   12   a California corporation, individually      )
        and on behalf of itself, all others         )   (Class Action, Fed. R. Civ. P. 23,
   13   similarly situated, and the general public, )   Plaintiff Class)
                                                    )
   14                                               )
               Plaintiff,                           )   FIRST AMENDED COMPLAINT
   15                                               )   FOR DAMAGES
               v.                                   )
   16                                               )
                                                    )   DEMAND FOR JURY TRIAL
   17    ANGIE’S LIST, INC., a Delaware             )
         corporation; ANGI                          )
   18    HOMESERVICES INC., a Delaware              )
         corporation, and DOES 1 through            )
   19    10,                                        )
                                                    )
   20
               Defendants.                          )
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 2 of 77 Page ID #:444



    1           Plaintiff, PRO WATER SOLUTIONS, INC., on behalf of itself, all others
    2   similarly situated, and the general public (hereinafter “Plaintiff” or “PWS”) files
    3   this First Amended Complaint against Defendants ANGIE’S LIST, INC., a
    4   Delaware corporation (hereinafter at times “Angie’s List”), ANGI
    5   HOMESERVICES INC., a Delaware corporation, and DOES 1 to 10, inclusive
    6   (hereinafter collectively referred to as "Defendants").
    7           The allegations set forth in this complaint are based upon the personal
    8   knowledge of Plaintiff as to its own acts, and upon information and belief as to
    9   all other matters, based upon, among other things, the investigation undertaken
   10   by its counsel from information that is publicly available. Neither remaining
   11   Defendant has yet responded to formal discovery.
   12

   13                                              I.
   14                              GENERAL ALLEGATIONS
   15      1.         Pursuant to Fed. R. Civ. Proc. 23, California Business and
   16   Professions Code ("B&PC") §§ 17200, et seq., and other statutory and common
   17   law as set forth below, PWS has filed this action, seeking class action treatment,
   18   to recover damages, penalties and restitution from Defendants for their violations
   19   of, inter alia, the aforementioned laws.
   20      2.         The acts complained of herein have occurred, are presently
   21   occurring, and are expected to continue occurring, within the time period from
   22   four years preceding the filing of the original Complaint herein plus such periods
   23   of time for tolling of the applicable statutes of limitations, up to and through the
   24   time of trial for this matter (hereinafter, the "Relevant Time Period").
   25       3.        Since about October 2017, and perhaps earlier, Defendants have been
   26   engaged in a pattern of fraudulent, deceitful and intentionally harmful activity in
   27   violation of both statutory and common law that has resulted in material losses to
   28   Pro Water Solutions, Inc. and the Plaintiff Class, defined below.
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 3 of 77 Page ID #:445



    1      4.       Defendant Angie’s List operates as an online resource for paid
    2   subscribers (Angie’s List “Members”) and website users among the general
    3   public (“Consumers”) to assist them in locating and evaluating Service Providers
    4   like Plaintiff and other businesses.
    5      5.       In addition to charging Angie’s List Members a subscription and/or
    6   membership fee to use the site, Angie’s List also charges Service Providers that
    7   seek to advertise their services on the Angie’s List website.
    8      6.       Service Providers like Plaintiff pay Angie’s List upwards of $800 per
    9   month to be listed on the Angie’s List website as a Service Provider in the hopes
   10   of obtaining business leads and new customers from Angie’s List website users
   11   (hereinafter, the “User(s)”).
   12      7.       Angie’s List Members and Consumers, who are the Users referred to
   13   in the preceding paragraph, may register with Angie’s List and submit ratings
   14   and reviews based upon their experience with using a certain Service Provider.
   15      8.       Information submitted by Users regarding their experiences with
   16   Service Providers is made available on the Angie’s List website to enable other
   17   Users to determine which Service Provider to use for a particular service.
   18      9.       Service Providers with an excellent rating on the Angie’s List
   19   website have historically benefited from advertising on the Angie’s List website,
   20   because Angie’s List Members and Consumers consider Service Providers’
   21   ratings on the Angie’s List when selecting a service provider for a particular
   22   project.
   23      10.      Indeed, Angie’s List historically appeared to have been quite
   24   scrupulous in assuring that the reviews and ratings of Service Providers on the
   25   Angie’s List website were authentic reviews and not provided by relatives of
   26   Service Providers’ personnel.
   27      11.      Moreover, Angie’s List also appeared to have scrutinized reviews
   28   and ratings to ensure that they were not from individuals who likely had not
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 4 of 77 Page ID #:446



    1   actually used the services of an Angie’s List Service Provider (e.g. a User whose
    2   comments and ratings emanated from a computer outside the geographic area
    3   serviced by the Angie’s List Service Provider).
    4      12.       For Plaintiff, which started advertising on the Angie’s List website in
    5   or about March of 2011, Angie’s List provided a tremendous source of quality
    6   business leads.
    7      13.       After the economic downturn in 2009, the source of leads provided
    8   by Angie’s List was a virtual lifeline for Plaintiff and other Angie’s List Service
    9   Providers.
   10      14.       Because of the quality of the leads generated by Angie’s List,
   11   Plaintiff deemed the payment of upwards of $800 per month to Angie’s List a
   12   reasonable investment to obtain solid business leads.
   13      15.       Due in part to its excellent ratings on Angie’s List, Plaintiff not only
   14   was able to weather the long economic downturn that began in 2009, but it
   15   expanded operations.
   16      16.       Since 2011 until earlier this past year, Plaintiff was a registered
   17   Service Provider for the Angie’s List website.
   18      17.       To be a registered Service Provider, Plaintiff, and all other Service
   19   Providers have been required to and in fact have completed an online registration
   20   with Angie’s List, which registration incorporates a hyperlinked document
   21   containing Angie’s Lists Service Provider’s User Agreement.
   22      18.       Two separate Service Provider’s User Agreements can be found on
   23   the Angie’s List website.
   24      19.       “Version 1.0,” which is listed as having been effective April 7, 2017
   25   to November 3, 2017 is attached hereto as Exhibit “A” and may be referred to
   26   hereinafter as SPUA 1.0.
   27      20.       “Version 2.0 (Current),” which is listed as being effective November
   28   3, 2017 is attached hereto as Exhibit “B” and may be referred to hereinafter as
                                                   4
                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 5 of 77 Page ID #:447



    1   SPUA 2.0. Collectively SPUA 1.0 and SPUA 2.0 may be referred to as the
    2   SPUAs.
    3      21.       Any person that wishes to become an Angie’s List Service Provider
    4   appears to be required to agree with both the applicable SPUA and the Angie’s
    5   List Privacy Policy a copy of which is attached hereto as Exhibit “C.”
    6      22.      Angie’s List makes specific, uniform representations to Service
    7   Providers and to the public at large in both of the SPUAs regarding a variety of
    8   items.
    9      23.      For purposes of this lawsuit, however, one of the key representations
   10   at issue relates to how Angie’s List represents that it will treat telephone
   11   numbers, email addresses and facsimile numbers that are submitted to Angie’s
   12   List when Service Provider register online with Angie’s list.
   13      24.      Specifically, the SPUAs state as follows:
   14     “The [Service Provider] Company acknowledges that Angie’s List will
   15     use the telephone numbers, email addresses and facsimile numbers that
   16     are submitted to Angie’s List in connection with registering with
   17     Angie’s List to contact the [Service Provider] Company with
   18     information regarding Angie’s List. Angie’s List agrees not to sell,
   19     trade, rent or share such information with any third parties.” (See
   20     Exhibit A, p. 12 at the first full paragraph and Exhibit B, p. 12, at the
   21     second full paragraph. Emphasis added.)
   22      25.      A second key representation in the SPUAs is that “Angie’s List
   23   simply acts as a passive conduit and an interactive computer provider for the
   24   publication and distribution of Member Content and SP [i.e. Service Provider]
   25   Content.” (See Exhibit A, p. 9 at the penultimate paragraph and Exhibit B, p. 9,
   26   at the final paragraph. Emphasis added.)
   27      26.      As for when and where these false representations were made, they
   28   have been made at literally all times since at least since April 7, 2017, because
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 6 of 77 Page ID #:448



    1   the exhibits attached hereto, in which the false representations can be found,
    2   have been continuously posted on the internet on the Angie’s List website.
    3      27.      As for where the representations were made, the answer is basically
    4   everywhere. The representations that were made on Defendants’ computer
    5   systems and servers, on Plaintiff’s computers and cell phones, and on the
    6   computers and cell phones of the thousands of putative class members
    7   throughout the nation.
    8      28.      In other words, since April 7, 2017, the Defendants’ representations
    9   have been ubiquitous.
   10      29.      As for who made these ubiquitous representations, at a minimum it
   11   was Defendant ANGIE’S LIST, INC., but, in light of the alter ego allegations set
   12   forth in further detail below, Plaintiff is informed and believes and thereupon
   13   alleges that these representations were also made by ANGI HOMESERVICES
   14   INC.
   15      30.      Throughout this amended complaint, Plaintiff has also added
   16   allegations regarding specific conduct of ANGI HOMESERVICES INC. that
   17   contributed to the misrepresentation and fraud.
   18      31.      Notwithstanding the foregoing specific and uniform written
   19   representations, upon which Service Providers are entitled to and do reasonably
   20   rely, Angie’s List routinely engages in a practice whereby it sells, trades, rents or
   21   shares the aforesaid Private Information with third parties, not just with respect
   22   to Plaintiff, but with respect to all of its Service Providers throughout the United
   23   States.
   24      32.      Although it is unknown precisely when Angie’s List started engaging
   25   in this unlawful practice of selling, trading, renting or sharing the Private
   26   Information, it is believed to have begun shortly after IAC/INTERACTIVECORP,
   27   a Delaware corporation, acquired Angie’s List in or about 2017, in a complicated
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 7 of 77 Page ID #:449



    1   series of transactions, whereby Defendant Angie’s List became a subsidiary of the
    2   newly created corporate Defendant ANGI HOMESERVICES INC.
    3      33.      Perhaps not coincidentally, this change in practices coincides with the
    4   growing popularity of other “free” website rating services, such as Yelp.
    5      34.      In what is a very clever scheme, Angie’s List surreptitiously charges
    6   Plaintiff and the Service Provider Class Members between $8 to upwards of $90
    7   per lead for the leads generated by the Angie’s List website.
    8      35.      It does not do so directly, as the Angie’s List SPUAs have no contract
    9   terms that allow Angie’s List to charge its Service Providers for the leads
   10   generated by the advertising dollars that Angie’s List Service Providers pay
   11   Angie’s List to be listed on the Angie’s List website.
   12      36.      Instead, whenever an Angie’s List website User completes a
   13   questionnaire seeking a list of Service Providers on the Angie’s List website,
   14   Angie’s List secretly transfers the leads generated in this procedure, along with the
   15   Service Providers’ Private Information, to another company that is a third-party to
   16   the contract between Angie’s List and its Service Providers, but one that is also
   17   owned and/or controlled by Defendant ANGI HOMESERVICES, namely non-
   18   party HomeAdvisor, Inc.
   19      37.      In other words, Angie’s List and HomeAdvisor, companies that were
   20   former competitors, are now under the common ownership of Defendants ANGI
   21   HOMESERVICES.
   22      38.      In secretly transferring these leads to HomeAdvisor, Angie’s List
   23   provides HomeAdvisor with the very information about the Service Provider that
   24   Angie’s List specifically agreed in its SPUAs “not to sell, trade, rent or share…
   25   with any third parties[,]” namely “the telephone numbers, email addresses and
   26   facsimile numbers that are submitted to Angie’s List in connection with [a Service
   27   Provider] registering with Angie’s List….”
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 8 of 77 Page ID #:450



    1      39.      Thus, if an Angie’s List Service Provider also has a membership with
    2   HomeAdvisor, as is the case with the Plaintiff here, whenever an Angie’s List User
    3   logs into the Angie’s List website seeking to hire a service professional, the lead
    4   generated from the data the Angie’s List User puts into the Angie’s List website
    5   interface is automatically and instantaneously transferred to HomeAdvisor, along
    6   with the Angie’s List Service Provider’s(/Providers’) contact information.
    7      40.      HomeAdvisor then immediately sends the User’s information out to
    8   multiple service providers (typically at least four service providers), immediately
    9   debiting each such service provider between $8 to upwards of $90 per lead upon
   10   transmission of said lead.
   11      41.      The profits obtained from this deceptive process create a direct
   12   financial benefit for Defendant ANGI HOMESERVICES INC., which counts the
   13   revenues of both ANGIES’ LIST, INC. and HomeAdvisor, as part of its own
   14   income in public filings such as its 10-Ks.
   15      42.      The process by which this information is transferred is fully automated
   16   and nearly instantaneous, demonstrating the calculated nature of the scheme to
   17   defraud.
   18      43.      In a single website interaction by an Angie’s List User seeking a
   19   Service Provider, Angie’s List and the defendant companies that own and/or
   20   control Angie’s List and HomeAdvisor, not only derive income from the monthly
   21   advertising fees paid by Angie’s List Service Providers, like Plaintiff, they also
   22   surreptitiously derive substantial additional income from fees foisted upon the
   23   Angie’s List Service Providers under the guise of said fees being for leads coming
   24   from HomeAdvisor (and not coming from Angie’s List’s website).
   25      44.      Of course, the Defendants derive additional revenues from the
   26   multiple additional service providers to whom HomeAdvisor disseminates leads
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 9 of 77 Page ID #:451



    1   derived from Angie’s List, and it disseminates these leads to service providers who
    2   may not even be registered Angie’s List Service Providers. 1
    3       45.      Angie’s List Service Providers, like Plaintiff, are provided no
    4   information by HomeAdvisor suggesting that the HomeAdvisor lead was
    5   generated by the Angie’s List website.
    6       46.      The economics of the transactions render the fraud nearly
    7   undetectable.
    8       47.      From the Angie’s List Service Providers’ perspective, they do not
    9   expect to be charged by Angie’s List for leads generated by the Angie’s List
   10   website, as there is no contractual agreement requiring the Service Providers to
   11   make any such per lead payments.
   12       48.      In contrast, however, if an Angie’s List Service Provider is also a
   13   service provider for HomeAdvisor, that service provider would expect to pay per
   14   lead for the leads received from HomeAdvisor.
   15       49.      Thus, Angie’s List Service Providers reasonably, but nonetheless
   16   incorrectly, assume that the per lead fees they pay to HomeAdvisor are for leads
   17   are actually derived from HomeAdvisor and not derived from Angie’s List (and,
   18   in turn, “redirected” to HomeAdvisor from Angie’s List).
   19       50.      From the perspective of an Angie’s List User, who puts data into the
   20   Angie’s List website interface (filling out a step-by-step questionnaire) in order to
   21   elicit a list of recommended Angie’s List Service Professionals, the Angie’s List
   22   website Users are typically contacted directly by telephone or email by at least one
   23   of the Angie’s List Service Providers listed on the Angie’s List website interface
   24   after the User has completed the questionnaire.
   25       51.      Since neither Angie’s List nor HomeAdvisor charge their website
   26   users any fees to use their websites to locate service providers, users typically have
        1
   27     That means that registered Angie's List Service Providers, who are not also service providers
        registered with HomeAdvisor are being placed in competition with HomeAdvisor registered
   28   service providers, who have not paid for the advertising on the Angie’s List website that
        created the customer lead in the first place, which is objectively unfair.
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 10 of 77 Page ID #:452



     1   little or no interest in the fees that are being charged to the service providers behind
     2   the scenes.
     3      52.        Unless after having completed the Angie’s List website questionnaire,
     4   an Angie’s List website User were to specifically ask the Angie’s List Service
     5   Provider(s) that contacted the User if the Service Provider(s) was(/were) provided
     6   the User’s information from Angie’s List (and not from HomeAdvisor), the User
     7   would have no idea that the information that the User put into the Angie’s List
     8   website interface had been surreptitiously transferred to HomeAdvisor for a fee.
     9      53.        By making this process by which Angie’s List Users obtain a list of
    10   Service Providers from its website to be virtually opaque, Angie’s List and its
    11   codefendants have been able to perpetrate a massive fraud upon their Service
    12   Providers.
    13      54.        It was only when Plaintiff noticed that the Angie’s List website
    14   seemed to have become ineffective as a means of advertising, that Plaintiff began
    15   to wonder why it was paying for advertising on the Angie’s List website at all,
    16   particularly when it was paying Angie’s List over $10,000 per year.
    17      55.        Through investigation, Plaintiff learned that Angie’s List website
    18   Users seeking contractors in the water treatment business (the area of specialty for
    19   Plaintiff) would be given a list of potential Service Providers. Angie’s List
    20   simultaneously (i.e. within seconds) shared the information about that same
    21   Angie’s List website User and corresponding Angie’s List Service Providers’
    22   Private Information, including that of Plaintiff and members of the Nationwide
    23   Class (defined below) with HomeAdvisor.               As a result of the sharing,
    24   HomeAdvisor contacted Plaintiff about this Angie’s List website User and charged
    25   Plaintiff for that information. In a voicemail message left with Plaintiff, a
    26   mechanically generated voice informed Plaintiff that he had received a lead from
    27   HomeAdvisor, even though the lead was actually from an inquiry made on the
    28   Angie’s List’s website. Thus, Plaintiff was charged twice for the same lead, once
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 11 of 77 Page ID #:453



     1   by Angie’s List for Plaintiff’s subscription and again by HomeAdvisor for the
     2   “tip” or “lead” which originated from Angie’s List. Plaintiff observed this process
     3   occur on several occasions.
     4      56.      Given the instantaneous and automated nature of this lead
     5   “redirection” Plaintiff observed, and not perceiving that defendants were
     6   specifically targeting Plaintiff alone, Plaintiff concluded that the same
     7   “redirection” of leads from Angie’s List to HomeAdvisor has happened and
     8   continues to happen with all Service Providers that are Service Providers for both
     9   Angie’s List and HomeAdvisor, such as Plaintiff.
    10      57.      When Plaintiff learned that leads, i.e. leads that rightfully should have
    11   come directly to Plaintiff, were instead “redirected” from Angie’s List to
    12   HomeAdvisor, he complained to HomeAdvisor.
    13      58.      A HomeAdvisor agent, who represented herself to be a supervisor,
    14   called the process a “redirection to an affiliate,” and told Plaintiff that having one’s
    15   business leads redirected (from Angie’s List to a third party in direct violation of
    16   the Angie’s List SPUAs) is simply “a risk factor with advertising.”
    17      59.      Plaintiff vehemently disagrees.
    18      60.      Agreeing to advertise on a website pursuant to a written contract
    19   does not justify the kind of fraud perpetrated by the defendants herein by
    20   “redirecting” customer leads to third parties, particularly when this “redirection”
    21   is in clear breach of material terms of the written contract between the parties
    22   and when Plaintiff’s pockets are pilfered in the process.
    23      61.      Indeed, it appears that, instead of ANGIES’ LIST, INC. providing
    24   Plaintiff and the Nationwide Class Members with a website that is designed to
    25   provide a benefit to its advertisers, ANGIES’ LIST, INC. and ANGI
    26   HOMESERVICES INC. have designed the website to be a lead generation tool
    27   for another ANGI HOMESERVICES INC.’s subsidiary, namely HomeAdvisor.
    28

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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 12 of 77 Page ID #:454



     1      62.      That is to say that the Angie’s List website is now designed to drive
     2   business away from itself, and instead direct it to an ANGI HOMESERVICES
     3   INC.’s subsidiary, so that that ANGI HOMESERVICES INC. can profiteer from
     4   charging ANGIES’ LIST, INC.’s Service Providers twice.
     5      63.      Thus, instead of being a “passive conduit” of Service Provider
     6   content, as ANGIE’S LIST, INC. has consistently represented itself to be in the
     7   SPUAs, Plaintiff is informed and believes and thereon alleges that ANGIES’
     8   LIST, INC. and ANGI HOMESERVICES INC. together surreptitiously
     9   redesigned the Angie’s List website to be an active conduit, driving business and
    10   revenue to HomeAdvisor, without any corresponding consideration being
    11   provided to ANGIE’S LIST, INC.
    12      64.      It would make no logical business sense for Defendant ANGIES’
    13   LIST, INC. to send all of the information culled from its online questionnaires
    14   (described below) to a former competitor like HomeAdvisor, unless, once
    15   ANGIE’S LIST, INC. and HomeAdvisor were under the joint ownership of
    16   ANGI HOMESERVICES INC., ANGI HOMESERVICES INC. derived
    17   additional income by secretly making the Angie’s List website an active conduit
    18   to drive business to HomeAdvisor and double dip, as it were.
    19      65.      There is no doubt that the per lead fees ANGI HOMESERVICES
    20   INC. allowed HomeAdvisor to charge the Angie’s List Service Providers,
    21   created substantial profits that are regularly reported as part of ANGI
    22   HOMESERVICES INC.’s income stream, as set forth in ANGI
    23   HOMESERVICES INC.’s public filings with the United States Securities and
    24   Exchange Commission (the “SEC”).
    25      66.      Moreover, were ANGI HOMESERVICES INC. to have disapproved
    26   of this practice, as it is the 100% owner of HomeAdvisor, it could have put an
    27   end to this fraudulent practice immediately, yet it has done nothing to reveal the
    28   true nature of the current version of the Angie’s List website.
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 13 of 77 Page ID #:455



     1      67.      ANGIES’ LIST, INC. and ANGI HOMESERVICES INC. have also
     2   specifically designed the Angie’s List website to drive website users to use its
     3   search function, which in turn, requires website users to fill out a questionnaire,
     4   which extracts information to be combined with the Service Providers’ Private
     5   Information, which is in turn improperly “shared” with HomeAdvisor.
     6      68.      With the exception of one step in the questionnaires (i.e. whether one
     7   puts one’s name, address, and telephone number into a single webpage form or
     8   whether one puts it into a series of webpage forms), the questionnaires on the
     9   Angie’s List website and the HomeAdvisor website are identical, by design.
    10      69.      Except for the Angie’s List name being on the
    11   https://www.angieslist.com/ website, the website is virtually indistinguishable
    12   from HomeAdvisor’s website (https://www.homeadvisor.com/) at first glance,
    13   and it appears that Angie’s List Website users are actually using the
    14   HomeAdvisor search engine.
    15
            70.      A screenshot of the Angie’s List website from today appears below.
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 14 of 77 Page ID #:456



     1      71.    A screenshot of the HomeAdvisor website from today appears
     2   below.
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                         FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 15 of 77 Page ID #:457



     1      72.      The screenshot below shows, side-by-side, the results of the
     2   questionnaire process on the two websites and demonstrates how they are not
     3   just functionally identical, but also how they are similar in wording and
     4   appearance. Moreover, the results from the two searches conclude with the same
     5   service provider being recommended.
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    18      73.      In fact, in the February 27, 2020 Form 10-K that ANGI
    19   HOMESERVICES INC. filed with the SEC, ANGI HOMESERVICES INC.
    20   explained that, “Matches made through HomeAdvisor platforms and paths and
    21   various third-party affiliate platforms are made by way of HomeAdvisor’s
    22   proprietary algorithm, based on several factors (including the type of services
    23   desired, location and the number of service professionals available to fulfill the
    24   request).” (See ANGI HOMESERVICES INC. February 27, 2020 Form 10-K,
    25   available at http://ir.angihomeservices.com/node/8521/html)
    26      74.      In its description of Consumer Services provided by ANGI
    27   HOMESERVICES INC. in the February 27, 2020 Form 10-K, ANGI
    28   HOMESERVICES INC. readily acknowledges that, “Consumers can submit a
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 16 of 77 Page ID #:458



     1   request to be matched with a Marketplace service professional through the
     2   HomeAdvisor and Handy platforms, as well as through certain paths on the
     3   Angie’s List platform and various third-party affiliate platforms.” (Id. at p. 3,
     4   emphasis added.)
     5      75.      In that same 10-K, ANGI HOMESERVICES INC. admits that,
     6   “When consumers choose to be matched with a service professional [on the
     7   Angie’s List website], HomeAdvisor’s proprietary algorithm will determine
     8   where a given service professional appears within the related results.” (Id. at p. 5,
     9   emphasis added.)
    10      76.      There is little doubt that ANGI HOMESERVICES INC. created,
    11   approved and used this so-called “proprietary algorithm” that it describes in its
    12   10-K to facilitate the fleecing of the Angie’s List Service Providers, driving up
    13   ANGI HOMESERVICES INC.’s profits.
    14      77.      ANGI HOMESERVICES INC. has basically taken the prior
    15   goodwill associated with the Angie’s List business and website and the existing
    16   base of Members, Users and Service Providers, and, by reengineering the
    17   Angie’s List website to drive all the website user lead information (along with
    18   the Service Provider Private Information) to its other subsidiary, HomeAdvisor,
    19   it has been able to augment its profits in face of competition from apparently
    20   “free” websites such as Yelp.com.
    21      78.      As such, ANGI HOMESERVICES INC. pulled a bait and switch on
    22   all existing consumer and Service Provider members, as well as future
    23   consumers, who believed that ANGIE’S LIST, INC. was providing the same
    24   service it always had, when, in fact, the business scheme was dramatically
    25   changed, despite ongoing representations and membership contract renewals that
    26   indicated users were paying for the same service they had always had.
    27

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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 17 of 77 Page ID #:459



     1      79.       In 2019, as Plaintiff came to believe its advertising with Angie’s List
     2   had become virtually worthless, and it was not inclined to sign on for another
     3   year of advertising with Angie’s List.
     4      80.       Viewed in light of the foregoing, Plaintiff’s advertising had indeed
     5   become worthless, as ANGI HOMESERVICES INC. had deliberately altered the
     6   services provided by ANGIE’S LIST, INC. through the Angie’s List website,
     7   which was that of a passive platform for consumers to find and review service
     8   providers.
     9      81.       Also, in light of the foregoing, without a concurrent subscription to
    10   HomeAdvisor’s lead services, where ANGIE’S LIST, INC. forwards all searches
    11   through the Angie’s List website, it appears that the term-based advertising paid
    12   for by Plaintiff and Class Members to advertise on the Angie’s List website is
    13   useless.
    14      82.       Since plenty of free review webservices are now offered elsewhere
    15   (e.g. Yelp), and since the value of the term-based advertising contracts that
    16   Service Providers like Plaintiff had with ANGIE’S LIST, INC. has been actively
    17   undermined by this “redirection” scheme, it should be observed that without a
    18   HomeAdvisor advertising contract, Plaintiff and members of the Class has
    19   become just another name on a long list of other service providers, with a
    20   substantially diminished chance of being selected by a website User for a job.
    21      83.       A couple of months before Plaintiff’s term for advertising on the
    22   Angie’s List website was about to expire in 2019, Angie’s List agents began to
    23   hound Plaintiff, pressuring it to renew.
    24      84.       To amplify the pressure on Plaintiff, Angie’s List took Plaintiff’s
    25   information off its website before the end of Plaintiff’s annual advertising term,
    26   in direct breach of Angie’s List obligation to provide the advertising for which
    27   Plaintiff had already paid.
    28

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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 18 of 77 Page ID #:460



     1      85.         Defendant Angie’s List even debited Plaintiff’s credit card for a
     2   month when Plaintiff’s information was not advertised on its website.
     3      86.         When Plaintiff disputed the debit through his credit card, in a classic
     4   shake down tactic designed to keep Plaintiff paying for Defendant Angie’s Lists
     5   “services,” Defendant Angie’s list began threatening Plaintiff, in writing, with
     6   sending Plaintiff’s account to third party collections and adversely affecting
     7   Plaintiff’s credit rating.
     8      87.         Even at the time the original Complaint herein was filed, Defendant
     9   Angie’s List continued to threaten Plaintiff with adverse consequences
    10   (including, but not limited to collection) if Plaintiff did not pay for advertising
    11   services that Angie’s List failed to provide in conformity with its contractual
    12   obligations.
    13      88.         As such, Defendant Angie’s List along with debt collection firms,
    14   whose identities are not presently known, are engaged in meritless debt
    15   collection practices, seeking to coerce Plaintiff and Class Members into either
    16            a. paying for services that have not been provided, or
    17            b. continuing to pay defendants to remain listed as Service Providers on
    18                  the Angie’s List website, notwithstanding the illusory value of the
    19                  same.
    20

    21                                              II.
    22                                JURISDICTION AND VENUE
    23      89.         The United States District Court for the Central District of California
    24   is the proper court for this action, as the action was properly removed from the
    25   Los Angeles Superior Court pursuant to the Class Action Fairness Act of 2005
    26   (28 U.S.C. Sections 1332(d), 1453, and 1711-1715. This Court has personal
    27   jurisdiction over this matter, because Defendants do business in the State of
    28

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                                FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 19 of 77 Page ID #:461



     1   California and the County of Los Angeles, and a substantial portion of
     2   Defendants’ obligations and liability arise herein.
     3

     4                                           III.
     5                                       PARTIES
     6   NAMED PLAINTIFF
     7      90.      Plaintiff PWS is a California corporation that, at all relevant times
     8   mentioned in this complaint, has been domiciled in the State of California.
     9   DEFENDANT ANGIE’S LIST, INC.
    10      91.      Defendant ANGIE’S LIST, INC., is a corporation organized and
    11   existing under the laws of the State of Indiana with its principal place of business
    12   located at 1030 East Washington Street, Indianapolis, Indiana 46202, and it is a
    13   wholly owned subsidiary of Defendant ANGI HOMESERVICES INC.
    14   DEFENDANT ANGI HOMESERVICES INC.
    15      92.      Defendant ANGI HOMESERVICES INC. is a corporation organized
    16   and in existence under the laws of the State of Delaware with its principal place
    17   of business located at 14023 Denver West Parkway, Building 64, Golden,
    18   Colorado 80401.
    19      93.      ANGI HOMESERVICES INC., in turn, is a subsidiary of
    20   IAC/INTERACTIVECORP, which holds 98% of the voting power in ANGI
    21   HOMESERVICES INC., designates 80% of ANGI HOMESERVICES INC.’s
    22   board members, and performs a multitude of services for ANGI
    23   HOMESERVICES INC. that are integral to ANGIE’S LIST, INC.’s operations.
    24   DOE DEFENDANTS
    25      94.      The true names and capacities of the defendants sued herein as
    26   DOES 1 through 10, inclusive, are currently unknown to Plaintiffs, who
    27   therefore sue such defendants by such fictitious names. Each of the defendants
    28   designated herein as a DOE is legally responsible in some manner for the
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 20 of 77 Page ID #:462



     1   unlawful acts referred to herein. Plaintiffs will seek to add to this Complaint the
     2   actual names, capacities and roles of the DOE defendants when such identities
     3   become known.
     4      95.      Excluded from the nationwide Class and the Subclasses are the
     5   following: Defendants, any entity in which any Defendant has a controlling
     6   interest, and each Defendant’s officers, directors, affiliates, legal representatives,
     7   employees, co-conspirators, successors, subsidiaries, and assigns; governmental
     8   entities; and, any judge or magistrate presiding over this action, as well as their
     9   immediate family members.
    10

    11                                             III.
    12                             ALTER EGO ALLEGATIONS
    13      96.      Defendant ANGI HOMESERVICES INC. exerts pervasive
    14   operational control over defendant ANGIE’S LIST, INC.
    15      97.      Indeed, ANGI HOMESERVICES INC. has engaged in acts that
    16   warrant the imposition of alter ego status with respect to ANGIE’S LIST, INC.,
    17   including a number of factors as set forth in Associated Vendors, Inc. v. Oakland
    18   Meat Co. (1962) 210 Cal. App. 2d 825.
    19      98.      Specifically, as set forth above, ANGI HOMESERVICES INC. has
    20   utilized ANGIE’S LIST, INC. and its website as an instrumentality for a single
    21   venture or business, which is comprised of ANGI HOMESERVICES INC. itself
    22   and ANGIE’S LIST, INC., which ANGI HOMESERVICES INC. describes as
    23   simply a brand used by ANGI HOMESERVICES INC. to drive in revenues.
    24      99.      As set forth above, ANGI HOMESERVICES INC. and ANGIE’S
    25   LIST, INC. have disregarded legal formalities, acting contrary to the financial
    26   interests of ANGIE’S LIST, INC. by diverting a massive amount of business,
    27   perhaps all of the consumer business from the Angie’s List website Users to a
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 21 of 77 Page ID #:463



     1   third party, namely HomeAdvisor, with no corresponding payment to ANGIE’S
     2   LIST, INC. for the same.
     3      100.     Indeed, the scheme described herein is the epitome of one corporate
     4   entity being utilized by its parent to provide labor and services for a separate
     5   entity without compensation.
     6      101.     Moreover, by the conduct described above, i.e. ANGI
     7   HOMESERVICES INC. and ANGIE’S LIST, INC. surreptitiously driving all
     8   consumer leads away from the Angie’s List website, these defendants have made
     9   advertising on the Angie’s List redesigned website virtually useless, thus
    10   jeopardizing the entire revenue stream for ANGIE’S LIST, INC. and placing it at
    11   real risk of insolvency, which, in turn, would promote injustice.
    12      102.     Failure to impose alter ego status with respect to these two
    13   Defendants would improperly sanction a fraud, which is also a factor under
    14   Associated Vendors.
    15      103.     In documents publicly filed with the SEC, ANGI HOME SERVICES
    16   INC. routinely refers to ANGIE’S LIST, INC. as one of its digital home service
    17   brands, and it combines accounting for ANGIE’S LIST, INC. with that of
    18   nonparty HomeAdvisor and itself. As such, it is reasonable to conclude that
    19   ANGI HOMESERVICES INC.’s managing agents are both intimately familiar
    20   with and in actual control of the business operation of both ANGIE’S LIST,
    21   INC. and nonparty HomeAdvisor, but with the details of their business
    22   operations, and the aspects of those operations at issue herein.
    23      104.     In light of the foregoing, all of which has been adduced without the
    24   assistance of formal discovery responses, joint and several liability is
    25   appropriately asserted in the causes of action set forth below.
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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 22 of 77 Page ID #:464



     1                                            IV.
     2                TOLLING OF THE STATUTE OF LIMITATIONS
     3   Discovery rule tolling
     4      105.     Without significant, detailed investigation, Plaintiff and Plaintiff
     5   Class had no way of knowing about the Defendants’ scheme to deceive and
     6   defraud Plaintiff and the Plaintiff Class.
     7      106.     Defendants offered leads to Plaintiff and Plaintiff Class through
     8   HomeAdvisor while concealing the fact that the leads had originated via the
     9   Angie’s List website, where Plaintiff and Plaintiff Class had active, paid,
    10   advertising subscriptions.
    11      107.     Within the period of any applicable statutes of limitation, Plaintiff
    12   and members of the proposed Class could not have discovered, through the
    13   exercise of reasonable diligence, that the defendants were concealing the conduct
    14   complained of herein.
    15      108.     Plaintiff and the other Plaintiff Class did not discover and did not
    16   know of facts that would have caused a reasonable person to suspect, that the
    17   Defendants were engaged in the scheme, nor would a reasonable and diligent
    18   investigation have readily disclosed the true facts.
    19      109.     For these reasons, all applicable statutes of limitation have been
    20   tolled by operation of the discovery rule with respect to the claims set forth
    21   herein.
    22

    23   Fraudulent Concealment Tolling
    24      110.     All applicable statutes of limitation have also been tolled by the
    25   Defendants’ knowing and active fraudulent concealment and denial of the facts
    26   alleged herein throughout the period relevant to this action.
    27

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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 23 of 77 Page ID #:465



     1   Estoppel
     2     111.             The defendants were under a continuous duty to disclose to
     3   plaintiff and Plaintiff Class the true character, quality, and nature of the
     4   membership arrangement and the relationship between Angie’s List and
     5   HomeAdvisor, as described herein.
     6     112.             Based on the foregoing, the defendants are estopped from
     7   relying on any statutes of limitations in defense of this action.
     8

     9                                            IV.
    10                          CLASS ACTION ALLEGATIONS
    11      113.      Pursuant to Fed. Rules Civ. Proc., Rule 23, this action is brought and
    12   may be properly maintained as a class action. This action satisfies the
    13   numerosity, commonality, typicality, adequacy, predominance, and superiority
    14   requirements of those provisions.
    15

    16   Class and Subclass Definitions:
    17      114.     Plaintiff brings this suit as a proposed class action on behalf of a
    18   Nationwide Class of persons defined as follows:
    19

    20     Any persons, whether individuals or business entities, that, at any time
    21     during the past four years, plus such additional time as the statutes of
    22     limitations are deemed to have been tolled, have registered as Service
    23     Providers with Angie’s List to advertise or otherwise promote their
    24     business in the United States using the Angie’s List website.
    25      115.     Any person that is a member of the above-defined Class may
    26   hereinafter be referred to as a Class Member.
    27      116.     Subclass Definitions: Plaintiff also seeks to certify three subclasses,
    28   which subclasses are defined as follows:
                                                   23
                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 24 of 77 Page ID #:466



     1     The Nationwide HomeAdvisor Subclass: Any Class Member that has
     2     also contracted to be a service provider member of HomeAdvisor, Inc. to
     3     advertise or otherwise promote the Class Members business with
     4     HomeAdvisor, Inc.;
     5

     6     The California Subclass: Any Class Member that is either based in or
     7     advertising with Defendants for services to be performed in California;
     8     and,
     9

    10     The California HomeAdvisor Subclass: Any HomeAdvisor Subclass
    11     Member that is either based in or advertising with Defendants for
    12     services to be performed in California.
    13

    14      117.       Numerosity: The potential membership in the class and subclass is so
    15   numerous that joinder of all members is impractical. While the exact number of
    16   members in the class and subclasses is presently unknown to Plaintiff, based on
    17   the representations made by defendant ANGI HOMESERVICES INC. in its
    18   most recent 10Q filed with the SEC on August 9, 2019, Plaintiff estimates
    19   membership in the Class to exceed 36,000 and each of the subclasses to exceed
    20   15,000. The exact number and specific identities of the members of the Class
    21   may be readily ascertained through inspection of Defendants' business records.
    22      118.       Questions of Law or Fact Common to the Class: Numerous questions
    23   of law and/or fact are common to all members of the Class (and that these
    24   common questions predominate over any individual issues), including, without
    25   limitation:
    26             a. Whether Defendant Angie’s List’s conduct in transferring to third
    27                 parties, including non-party HomeAdvisor, the leads and Service
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 25 of 77 Page ID #:467



     1             Provider information that have been generated on the Angie’s List
     2             website constitutes a breach of contract, as set forth below;
     3          b. Whether Defendant Angie’s List’s conduct in transferring to third
     4             parties the leads and Service Provider information that have been
     5             generated on the Angie’s List website constitutes a violation of
     6             applicable statutory laws, including but not limited to unlawful,
     7             unfair and fraudulent business acts as well as false and misleading
     8             advertising, as set forth below;
     9          c. Whether Defendant Angie’s List’s conduct in transferring to third
    10             parties the leads and Service Provider information that have been
    11             generated on the Angie’s List website constitutes a violation of
    12             applicable common law, including, but not limited to fraud and/or
    13             fraudulent concealment, as set forth below;
    14          d. Whether the Defendants herein unlawfully profited from Defendant
    15             Angie’s List’s conduct in transferring to third parties the leads and
    16             Service Provider information that have been generated on the
    17             Angie’s List website;
    18          e. Whether ANGIES’ LIST, INC. and ANGI HOMESERVICES INC.
    19             surreptitious redesign of the Angie’s List website, resulting in the
    20             double charging of Angie’s List’s Service Providers for advertising,
    21             constitutes a violation of applicable common laws and statutory laws,
    22             including but not limited to unlawful, unfair and fraudulent business
    23             acts as well as false and misleading advertising, as set forth below;
    24          f. Whether the wrongful conduct alleged herein is in violation of state
    25             enacted consumer protection acts, state enacted unfair trade
    26             practices, and/or common law.
    27

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                         FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 26 of 77 Page ID #:468



     1             g. Whether the members of the Class and Subclasses are threatened
     2                with irreparable harm and/or are entitled to injunctive and other
     3                equitable relief.
     4             h. Whether the members of the Class and Subclasses are entitled to
     5                payment of damages plus interest thereon
     6      119.      Typicality: Plaintiffs claims are typical of the claims of all members
     7   of the Class and Subclasses it seeks to represent. Defendants treated both
     8   Plaintiff and all members of the Class and Subclasses in a virtually identical
     9   manner with respect to the violations of law asserted herein. These violations of
    10   law arise out of Defendants' common course of conduct in, inter alia,
    11   Defendants’ deceitful business practices with respect to the Angie’s List
    12   advertising agreements and its membership services. Plaintiffs and the other
    13   members of the Class and Subclasses have sustained economic injuries arising
    14   from the conduct of Angie’s List, and the relief sought is common to each
    15   member of the Class.
    16      120.      Adequacy: Plaintiff will fairly and adequately protect the interests of
    17   the members of the Class it seeks to represent. Plaintiff is an adequate
    18   representative of the Class because it is a member of the Class and Subclasses
    19   and its interests do not conflict with the interests of the members of the Class it
    20   seeks to represent. Moreover, Plaintiff has retained counsel competent and
    21   experienced in the prosecution of complex class actions, and Plaintiff and its
    22   counsel intend to prosecute this action vigorously for the benefit of the Class.
    23   The interests of the Plaintiff Class will be fairly and adequately protected by
    24   Plaintiff and its counsel.
    25      121.      Superiority: This action is properly brought as a class action not only
    26   because the prerequisites of Rule 23 and common law related thereto are
    27   satisfied (as outlined above), but also because of the following:
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 27 of 77 Page ID #:469



     1             a. The prosecution of separate actions by or against individual members
     2                of the Class would create risk of inconsistent or varying
     3                adjudications with respect to individual members of the Class which
     4                would establish incompatible standards of conduct for the party
     5                opposing the Class;
     6             b. Adjudications with respect to individual members of the Class
     7                would, as a practical matter, be dispositive of the interests of the
     8                other members not parties to the adjudications or substantially impair
     9                or impede their ability to protect their interests;
    10             c. Defendants have acted or refused to act on grounds generally
    11                applicable to all members of the Class, making declaratory relief
    12                appropriate with respect to all of the Class;
    13             d. Questions of law or fact common to the members of the Class
    14                predominate over any questions affecting only individual members;
    15                and,
    16             e. Class action treatment is superior to other available methods for the
    17                fair and efficient adjudication of the controversy.
    18

    19                                             V.
    20                         INDIVIDUAL CAUSES OF ACTION
    21

    22                               FIRST CAUSE OF ACTION
    23                                   (Breach of Contract)
    24       (By the Nationwide Class and All Subclasses Against All Defendants)
    25      122.      Plaintiff incorporates herein by this reference all of the paragraphs
    26   previously set forth in this Complaint, as though the same were fully set forth
    27   herein.
    28

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                             FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 28 of 77 Page ID #:470



     1      123.     Plaintiff and Defendant Angie’s List entered into a contract whereby
     2   Plaintiff could utilize Angie’s List website advertising and lead generation
     3   services in consideration of monthly and/or annual payments for the service.
     4      124.     Plaintiff paid for all, or substantially all of the services Angie’s List
     5   promised to provide.
     6      125.     Defendant breached the terms of the contract(s) by (A) selling,
     7   trading, renting or sharing the Plaintiff’s and the Class Members’ Private
     8   Information with third parties, including but not limited to HomeAdvisor, Inc.
     9   and by (B) deliberately sending leads to HomeAdvisor rather than directly to
    10   Plaintiff or the plaintiff Nationwide Class and all Subclasses, thus rendering the
    11   payments made to Angie’s List a complete waste of money and permitting non-
    12   party HomeAdvisor, Inc. to solicit and charge Plaintiff and Plaintiff Class
    13   additional money for leads for which Plaintiff and the Plaintiff Class and
    14   Subclasses had already paid.
    15      126.     Defendants further breached their contract(s) with Plaintiff and the
    16   Nationwide Class, including breaching the implied terms thereof of good and fair
    17   dealing, by surreptitiously redesigning the Angie’s List website as described
    18   hereinabove.
    19      127.     Defendants further breached their contract(s) with Plaintiff by taking
    20   Plaintiff’s information off the Angie’s List website before the term for
    21   advertising had expired, as described above at ¶¶ 83- 87.
    22      128.     Plaintiff, the Nationwide Class and all Subclasses were harmed and
    23   suffered damages as a result of Defendants’ breaches of contract.
    24

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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 29 of 77 Page ID #:471



     1                             SECOND CAUSE OF ACTION
     2                            (Fraudulent Misrepresentation)
     3       (By the Nationwide Class and All Subclasses Against All Defendants)
     4      129.     Plaintiff incorporates herein by this reference all of the paragraphs
     5   previously set forth in this Complaint, as though the same were fully set forth
     6   herein.
     7      130.     Defendant ANGIE’S LIST, INC. and ANGI HOMESERVICE INC.,
     8   as its alter ego herein, represented to Plaintiff that an important fact was true, i.e.
     9   that Angie’s List would not to sell, trade, rent or share Plaintiff’s or the Plaintiff
    10   Class’ Private Information with any third parties.
    11      131.     Additionally, Defendant ANGIE’S LIST, INC. and ANGI
    12   HOMESERVICE INC., as its alter ego herein, represented to Plaintiff and the
    13   Class that it was simply a passive conduit, when in fact it was actively
    14   undermining the benefit derived from an advertising membership by redirecting
    15   all searches, which it dramatically emphasizes on its site, to a third party, e.g.
    16   HomeAdvisor.
    17      132.     These representations were false.
    18      133.     Defendants knew that the representations were false when it made
    19   these representations, or Defendant ANGIE’S LIST, INC. made the
    20   representations recklessly and without regard for their truth or by actively
    21   concealing the truth.
    22      134.     Defendants intended that Plaintiff and all members of the Nationwide
    23   Class and Subclasses to rely on the representations.
    24      135.     Plaintiff and the plaintiff Nationwide Class and Subclasses
    25   reasonably relied on these written representations.
    26      136.     Plaintiff and the plaintiff Nationwide Class and Subclasses were
    27   harmed.
    28

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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 30 of 77 Page ID #:472



     1      137.     Plaintiff's and the plaintiff Nationwide Class’ and Subclasses’
     2   reliance on the Defendant’s representations were a substantial factor in causing
     3   that harm to Plaintiff and the plaintiff Nationwide Class and Subclasses.
     4

     5                             THIRD CAUSE OF ACTION
     6                         (California Unfair Competition Law
     7                       Cal. Bus. & Prof. Code § 17200, et seq.)
     8        (By the California Subclass and California HomeAdvisor Subclass
     9                             and Against All Defendants)
    10      138.     Plaintiff incorporates herein by this reference all of the paragraphs
    11   previously set forth in this Complaint, as though the same were fully set forth
    12   herein.
    13      139.     Cal. Bus. & Prof. Code § 17200, et seq. proscribes various acts,
    14   including unlawful, unfair, fraudulent, deceptive, acts, which include untrue
    15   and/or misleading advertising.
    16      140.     The requirements to demonstrate that particular conduct is deemed
    17   “fraudulent” within the meaning of § 17200 is far less rigorous than the
    18   requirements of common law fraud.
    19      141.     A business practice is “fraudulent” within the meaning of § 17200 if
    20   “members of the public are likely to be deceived.” (Committee on Children's
    21   Television v. General Foods Corp. (1983) 35 C3d 197, 211; accord, Kasky v.
    22   Nike, Inc. (2002) 27 C4th 939; and Prata v. Sup.Ct. (2001) 91 CA4th 1128,
    23   1144)
    24      142.     In contrast to common law fraud in California, “[u]nder the
    25   Children's Television test, a plaintiff can prove a prima facie case that a business
    26   practice is ‘fraudulent’ without having to prove intent, scienter, actual reliance,
    27   or damage. Even actual deception is not required. All that is required is proof
    28   that ‘members of the public are likely to be deceived.’” (“Fraudulent” Business
                                                  30
                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 31 of 77 Page ID #:473



     1   Practices, Bus. & Prof. C. 17200 Ch. 3-H (Rutter), citing Schnall v. Hertz Corp.
     2   (2000) 78 CA4th 1144, 1167 and People v. Orange County Charitable Servs.
     3   (1999) 73 CA4th 1054, 1076; italics added).
     4      143.     Virtually any statement made in connection with the sale of a product
     5   or service is considered “advertising.” (Chern v. Bank of America (1976) 15 Cal.
     6   3d 866, 875-876, where statements over the telephone by a loan officer regarding
     7   interest rates being charged were found to be “advertising.”)
     8      144.     Defendant ANGIE’S LIST, INC. and ANGI HOMESERVICE INC.,
     9   as its alter ego herein, falsely and fraudulently represented to Plaintiff and the
    10   California Subclass Members that important facts were true, i.e. (1) that Angie’s
    11   List would not to sell, trade, rent or share Plaintiff’s or the Plaintiff Class’
    12   Private Information with any third parties and (2) that it was merely a passive
    13   conduit or platform.
    14      145.     Moreover, for as long as Plaintiff’s principals can recall, even
    15   including the time when Plaintiff first signed up to advertise on the Angie’s List
    16   website, ANGIE’S LIST, INC. has consistently promoted itself in writing and in
    17   television advertising as “connecting quality members with quality pros for all of
    18   their home-improvement needs.”
    19      146.     Once Defendants ANGIE’S LIST, INC. and ANGI
    20   HOMESERVICES INC. implemented the redirection scheme described
    21   hereinabove, those statements about “connecting quality members with quality
    22   pros for all of their home-improvement needs” became false.
    23      147.     A reasonable person who was (or is) a service provider seeking to
    24   become an Angie’s List Service Provider is likely to have been deceived and
    25   misled into believing that the Angie’s List website would (/will) connect them to
    26   Angie’s List M embers and Users, when, in fact, the Angie’s List website had
    27   been redesigned to connect Angie’s List members to advertisers on
    28   HomeAdvisor website.
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 32 of 77 Page ID #:474



     1      148.        ANGIE’S LIST, INC. always held itself out, both in written
     2   advertisement (e.g. on its websites) and in spoken advertisement on radio and
     3   television, to be an advertising portal, where one would not have to pay any
     4   additional fees, beyond the Service Providers’ term-based advertising contracts
     5   (i.e. the SPUAs).
     6      149.        Again, these representations have been ubiquitous in its website
     7   advertising in the SPUAs.
     8      150.        The SPUAs are the primary means by which ANGIE’S LIST, INC.
     9   and ANGI HOMESERVICES INC. communicate the terms of their service
    10   (much like a loan officer telling a bank customer about interest rates), and
    11   nowhere in the SPUAs do the Defendants reveal that the Angie’s List website is
    12   really run by HomeAdvisor or that it will result in double charging for
    13   advertising.
    14      151.        Surprisingly, as noted above, in the most recent ANGI
    15   HOMESERVICES INC. 10-K filed with the SEC on February 27, 2020, ANGI
    16   HOMESERVICES INC. admits that, “When consumers choose to be matched
    17   with a service professional [on the Angie’s List website], HomeAdvisor’s
    18   proprietary algorithm will determine where a given service professional appears
    19   within the related results.”
    20      152.        Not only is this material information omitted from any and all
    21   advertising created for the Angie’s List website by ANGIE’S LIST, INC. and
    22   ANGI HOMESERVICES INC., these Defendants continue to omit the crucial
    23   fact that all the leads generated by the Angie’s List website are redirected to
    24   HomeAdvisor to enable this ANGI HOMESERVICES INC.’s subsidiary to
    25   charge Service Providers for ANGIE’S LIST, INC. the per lead fees described
    26   above.
    27      153.        Again, a reasonable person who was (/is) a service provider seeking
    28   to become an Angie’s List Service Provider is likely to have been (/to be)
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                             FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 33 of 77 Page ID #:475



     1   deceived and misled into believing that the Angie’s List website would (/will)
     2   connect them to Angie’s List members without causing them to incur additional
     3   per lead fees.
     4      154.     Defendants ANGIE’S LIST, INC. and ANGI HOMESERVICES
     5   INC. has thus engaged in a pattern of unlawful, unfair or fraudulent business acts
     6   or practices and/or unfair, deceptive, untrue or misleading advertising with
     7   respect to Plaintiff and California Subclasses.
     8      155.     However, not only were these representations false, constituting
     9   violations of §17200 because they were false, the conduct of ANGIE’S LIST,
    10   INC. and ANGI HOMESERVICE INC., as its alter ego herein, that made these
    11   representations false also constituted a systematic breach of the attached SPUA
    12   contracts as well, which also constitutes a violation of §17200, specifically by (1)
    13   sharing Plaintiff’s and the Plaintiff Class’ Private Information with third parties
    14   like HomeAdvisor and (2) changing the Angie’s List website into a platform that
    15   was actively undermining the benefit derived from an advertising membership
    16   with Angie’s List by redirecting all searches on that website to a third party,
    17   namely HomeAdvisor.
    18      156.     How were the SPUAs (i.e. the contracts at issue) systematically
    19   breached? Simply put, Plaintiff and all California Subclass Members were
    20   systematically subjected to breaches of the SPUAs by ANGIE’S LIST, INC. and
    21   ANGI HOMESERVICE INC., as its alter ego herein, each and every time an
    22   Angie’s List website Users sought to obtain information regarding the Angie’s
    23   List Service Providers on the Angie’s List website.
    24      157.     Based upon the reported revenues in ANGI HOMESERVICES
    25   INC.’S regular financial filings with the SEC, these efforts by website users to
    26   connect with Service Professionals must be occurring thousands of times each
    27   day, if not much more.
    28

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                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 34 of 77 Page ID #:476



     1      158.     In its filings with the SEC, the first item that ANGI
     2   HOMESERVICES INC. identifies as a primary source from which it derives
     3   revenues, are the fees paid to HomeAdvisor from service providers, which
     4   includes the Plaintiff and California HomeAdvisor Subclass.
     5      159.     When, as noted above, lead fees appear to range between $8 to
     6   upwards of $90, there must be an awful lot of lead fees to enable ANGI
     7   HOMESERVICES INC. to report $913,533,000 in revenue for the year ending
     8   December 31, 2019.
     9      160.     These representations at issue here are those that were made in the
    10   SPUAs, and the only copies of SPUAs with Defendants to which Plaintiff still
    11   has access are attached to this complaint as Exhibits A and B, as noted above.
    12      161.     Moreover, ANGI HOMESERVICES INC. engaged in unfair,
    13   misleading and fraudulent business practices along with ANGIES’ LIST, INC.
    14   by surreptitiously redesigning the Angie’s List website to be an active conduit,
    15   driving business and revenue to HomeAdvisor so it could double charge Angie’s
    16   List Service Providers.
    17      162.     In addition to independent wrongful acts under §17200 engaged in
    18   by ANGI HOMESERVICES INC., as set forth above, Plaintiff also firmly
    19   believes that ANGI HOMESERVICES INC. and ANGIE’S LIST, INC. are alter
    20   egos of one another, and Plaintiff is confident this relationship will be further
    21   fleshed out through discovery.
    22      163.     At bottom, the Defendants’ scheme operated to unlawfully, unfairly,
    23   and fraudulently extract revenue from Plaintiff and Plaintiff Class by, among
    24   other wrongful acts, unfair, deceptive, untrue and misleading advertising.
    25      164.     Defendants deliberately undermined the benefit Service Providers
    26   reasonably expected to derive from their contractual agreements with
    27   Defendants, requiring Plaintiff and the California Subclasses pay again for the
    28   results of the advertising, i.e. the leads generated from advertising on the Angie’s
                                                  34
                           FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 35 of 77 Page ID #:477



     1   List website -- something for which they had already paid under the original
     2   advertising agreement with Angie’s List.
     3      165.      Plaintiff and Plaintiff California Subclasses were deprived of the
     4   benefit of the original advertising agreement; thus, they are entitled to and thus
     5   seek restitution from Defendants for all advertising expenses incurred during the
     6   life of Defendants’ fraudulent scheme.
     7      166.      Defendants will, unless preliminarily restrained and enjoined,
     8   continue to engage in the aforesaid unfair business practices and should be
     9   enjoined to prevent said practices pursuant to Cal. Bus. & Prof. Code §§ 17204
    10   and 17535.
    11

    12                                            VI.
    13                                PRAYER FOR RELIEF
    14        WHEREFORE, Plaintiff Pro Water Solutions, Inc. prays, for itself and on
    15   behalf of the Plaintiff Class:
    16        a. That the Court issue an Order certifying the class and subclasses herein,
    17             appointing the named Plaintiff as the class representative of all others
    18             similarly situated, and appointing the law firm(s) representing the
    19             named Plaintiff as counsel for the members of these classes;
    20        b. For general damages in a sum according to proof at trial;
    21        c. For special damages in a sum according to proof at trial;
    22        d. For injunctive relief, including a temporary and/or permanent injunction
    23             prohibiting defendants from selling, trading, renting or sharing Private
    24             Information with third parties, including but not limited to
    25             HomeAdvisor;
    26        e. For exemplary and punitive damages;
    27        f. For an accounting;
    28        g. For a constructive trust and an order of full restitution;
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 36 of 77 Page ID #:478



     1        h. For reasonable attorneys' fees;
     2        i. For costs of suit incurred herein; and
     3        j. For such other and further relief as the Court may deem just and proper.
     4

     5
         Dated: June 3, 2020                  The Cullen Law Firm, APC

     6
                                              ___________________________
     7                                        Paul T. Cullen, Esq.
     8
                                              Attorneys for Plaintiff
                                              PRO WATER SOLUTIONS, INC.
     9

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                          FIRST AMENDED COMPLAINT FOR DAMAGES
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 37 of 77 Page ID #:479




                        EXHIBIT “A”
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 38 of 77 Page ID #:480



                                                                                                   Legal Center


             Privacy Policy

             Service Provider's User Agreement

             Terms of Use

             Projects Submission Customer Agreement

             Advertising and Deals Agreement

             Angie's List Mobile Alerts Terms and Conditions




             Privacy Policy
              Version1.0
              Version 1.0(Current)
                           (Current)

             Effective April 7, 2017
             Download




             Angie's List Privacy Policy

             Last Modified February 13, 2017

             This Privacy Policy discloses our privacy practices and the possible uses of the information that we gather
             via http://www.angieslist.com/, our mobile application(s), and via other submissions by you to Angie's List
             (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
             Policy. If you do not agree to the terms and conditions of this Privacy Policy, including having your
             personally identifiable information ("Personal Information" as defined below) used in any of the ways
             described in this Privacy Policy, you may not be able to use certain parts or features of our Site and
             Services, and in some instances, this may necessitate the revocation of your membership. Angie's List may
             update this Privacy Policy from time-to-time in our sole discretion. It is your responsibility to review the
             Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
             changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
             that you agree to and accept the Privacy Policy as modified.

             This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
             services, our print publications, our call center services, and other Angie's List products or services. This
             Privacy Policy is part of our Angie's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                             EXHIBIT A, Page 1 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 39 of 77 Page ID #:481
             our Site and Services.

             Information Collected

             Angie's List collects information on our users in various ways, such as, by your voluntary submissions,
             participation in services provided via the Site and Services, from third parties with your consent, and through
             cookie and other tracking technology. Angie's List collects the following information:

                     Personal Information

             "Personal Information" refers to information that tells us specifically who you are, such as your name, phone
             number, email, postal address, and possibly information relating to certain support or customer service
             issues. In many cases, we need this information to provide to you many of the services that you may have
             requested.

                     Cellular Phone Numbers

             By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
             on our behalf to deliver autodialed or prerecorded telemarketing calls and/or text messages to the number
             you provide. You are not required to consent to these calls as a condition to purchasing any goods or
             services, but withholding your consent may prevent us from providing certain services to you. This consent
             encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
             party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
             contacting Angie’s List, including by texting STOP.

                     Submission of Reviews, Ratings, and Comments

             We collect information that you voluntarily provide as part of our Site and Services, including messages,
             posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
             Generated Content"). Angie's List may in our sole discretion share your User Generated Content with others
             such as your business reviews. If you do not want certain information shared with others, you should not
             submit User Generated Content, or should not submit User Generated Content that contains information or
             Personal Information you do not want shared in this manner. Once You have submitted User Generated
             Content, we reserve the right to publish it in any medium to others.

                     Aggregate Information

             We may collect general, non-personal, statistical information about the use of the Site and Services, such
             as how many visitors visit a specific page on the Site, how long they stay on that page, and which
             hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
             collective viewing habits, and allows us and other third parties to modify information, promotions, offers
             and/or discounts on products and services based on user traffic and behavior. We collect this information
             through the use of technologies such as 'cookies' and web beacons, which are discussed in greater detail
             below. We collect this information in order to help enhance the Site and Services to make for a better visitor
             experience.

                     Third Party Information

             We may supplement information you provide to us with information from other sources, such as information
             to validate or update your address, payment card or other demographic and lifestyle information. We use
             this information to help us maintain the accuracy of the information we collect, to enable us to fulfill our
                                                                                             EXHIBIT A, Page 2 of 15
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Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 40 of 77 Page ID #:482
             products and services, to target our communications so that we can inform you of products, services and
             offers that may be of interest, and for internal business analysis or other business purposes consistent with
             our mission.

                     Cookies

             Angie's List may automatically collect non-personally identifiable information and data through the use of
             cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
             access to the website and facilitate the use of the website. Cookies also allow a website to track usage
             behavior and compile site usage information that will allow for the improvement of content and target
             advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
             remove them. You may set your browsers to notify you if you receive a cookie, or you may choose to block
             cookies with your browser. However, please be aware that some features of our Site and Services may not
             function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
             parties with links on the Site as described below. We do not directly control these cookies. The use of
             advertising cookies sent by third party ad servers is standard in the Internet industry.

             We may use the services of third parties to collect and use anonymous information about your visits to and
             interactions with our website through the use of technologies such as cookies to personalize advertisements
             for goods and services. To learn more, or to opt-out of

             receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
             Advertising Alliance Consumer Choice Page at http://www.aboutads.info/choices/.

                     Other Tracking Technologies

             Tracking technologies may record information such as Internet domain and host names; protocol (IP)
             addresses; browser software and operating system types; clickstream patterns; the MAC address or other
             technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
             technologies; and dates and times that our Site and Services are accessed. An IP address is a number that
             is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
             that 'serve up' webpages, automatically identify your computer by its IP address. The Site and Services may
             also use technology called "tracer tags". These may also be referred to as "Pixels", "Clear GIFs" or "Web
             Beacons". This technology allows us to understand which pages you visit on our Site and other ways you
             interact with our Site and Services, such as purchases made through the Site and Services. These tracer
             tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
             Services. We may link the information we record using tracking technologies to Personal Information we
             collect.

                     Do Not Track

             Do Not Track (DNT) is a privacy preference that users can set in some web browsers, allowing users to opt
             out of tracking by websites and online services. At the present time, the World Wide Web Consortium (W3C)
             has not yet established universal standards for recognizable DNT signals and therefore, Angie’s List and the
             Site do not recognize DNT.

             Use of Information

             The information Angie's List collects is used in a variety of ways, including

                                                                                             EXHIBIT A, Page 3 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 41 of 77 Page ID #:483
                     for internal review;

                     to improve the Site and Services;

                     to optimize third-party offers of products and/or services;

                     to verify the legitimacy of reviews and ratings;

                     to notify you about updates to the Site and Services;

                     to let you know about products, services, and promotions that you may be interested in;

                     to get reviews and ratings;

                     for our marketing purposes and the marketing of discounts offered through our Site and Services by
                     service contractors or health care related providers (collectively "Service Providers");

                     to fulfill and provide products and services, including personalized or enhanced services, requested
                     by you; and

                     internal business analysis or other business purposes consistent with our mission; and to carry out
                     other purposes that are disclosed to you and to which you consent.

             Disclosures and Transfers of Information

             We do not disclose Personal Information to third parties, except when one or more of the following
             conditions is true:

                     We have your permission to make the disclosure;

                     The disclosure is necessary for the purpose for which the personal information was obtained;

                     The disclosure is to the service provider from whom you purchased services through Angie’s List’s
                     platform, including without limitation Big Deals, Storefronts, and project submissions;

                     The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                     provision of goods and services requested by you;

                     The disclosure is permitted by relevant law;

                     The Personal Information to be disclosed is otherwise publicly available in accordance with the
                     applicable law;

                     The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                     assets;

                     The disclosure is for our own marketing purposes (including, without limitation, for Angie’s List to
                     market services to you on third-party social media platforms such as Facebook), or, with your
                     authorization, for the marketing purposes of third parties;

                     The disclosure is combined with information collected from other companies and used to improve and
                     personalize services, content, and advertising from us or third parties;

                     The party to whom the disclosure is made controls, is controlled by, or is under common control with
                     Angie's List;

                                                                                             EXHIBIT A, Page 4 of 15
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Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 42 of 77 Page ID #:484
                     The disclosure is in our sole discretion necessary for the establishment or maintenance of legal
                     claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                     connection with litigation;

                     The disclosure is in our sole discretion about users who we believe are engaged in illegal activities or
                     are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                     warrant or court order; or

                     The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                     Site and Services, mailing lists, processing orders and delivering products and services, sending
                     postal mail, processing claims for lost or stolen certificates, providing marketing assistance,
                     confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                     including Administrative Service Providers outside the country or jurisdiction in which you reside.

             Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
             such outside parties to whom we are transferring data to provide for the allowable use and security of the
             transferred information in accordance with this Privacy Policy and applicable law. If Angie's List becomes
             aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
             outside party and request that it take reasonable steps to cease such use or disclosure.

             We may provide certain Personal Information as a service to others for their marketing purposes. We may
             also disclose your name and address to Service Providers when you submit User Generated Content
             relating to those Service Providers. If you properly notify us that you no longer want us to share your
             Personal Information, we will cease sharing your Personal Information. However, except as otherwise stated
             in this Privacy Policy, we do not directly control the third parties to which we share such Personal
             Information and you will need to further notify such third parties directly if you would like them to cease use
             of your Personal Information.

             We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
             existing or potential business partners or other third parties, or in response to a government request. We
             may also share aggregated demographic and preference data with third parties to enable the provision of
             targeted information, promotions, offers and/or discounts on products and services.

             Choice: Accessing Your Information and Opt-in/Opt-out Requests

             To help you review, edit, and control how we use much of the information we collect about you, you can visit
             your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
             information and unsubscribe from receiving specific types of email messages and telephone calls, including
             autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
             unsubscribe from our monthly digital magazine, which is a benefit that is included with your subscription.
             You cannot, however, unsubscribe from receiving certain emails, such as account status and billing related
             emails, unless you close your account and fulfill any existing contractual obligations.

             You can also ask us whether we are keeping information about you; ask how your information is being
             used; ask us to update or correct your information; or opt-out of our collection and use of certain information
             by sending an email to helpdesk@angieslist.com or by writing us at Help Desk, Angie's List, 1030 E.
             Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request. If you choose to
             opt-out of the collection and use of certain of your information, you understand that some services, may no

                                                                                             EXHIBIT A, Page 5 of 15
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Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 43 of 77 Page ID #:485
             longer be available to you, potentially requiring the cancelation of your Membership. Please state in your
             correspondence the details of your request. We may require proof of your identity before we provide you
             with the requested information. We allow you to challenge the data that we hold about you and, where
             appropriate, you may have certain data erased, rectified, amended, or completed. Approved requests will be
             processed within ten (10) days of the date on which we receive the request.

             Data Security, Integrity, and Access

             The Personal Information you provide and we collect is stored within databases that we control directly or
             through our Administrative Service Providers. As we deem appropriate and as required by the applicable
             law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
             industry standards, including physical, organizational and technological protections, such as firewalls, to
             protect your Personal Information. We also use industry standard encryption technology to protect credit
             card and password information. However, since no security system is impenetrable, we cannot guarantee
             the security of our databases, nor can we guarantee that information you supply will not be intercepted while
             being transmitted to us over the Internet.

             Personal Information may only be accessed by persons within our organization, our third party service
             providers who require such access to provide you with the services indicated above, or any other party that
             you have provided us with authorization to share such information with.

             We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
             for which it was collected or to otherwise meet any legal requirements.

             Your information may be transferred to, and maintained on, computers located outside of your state,
             province/territory, or country where the privacy laws may not be as protective as those where you live. If you
             are located outside the United States and choose to provide information to us, please be aware that we
             transfer Personal Information to the United States and process and store it there. As a result, this
             information may be subject to access requests from governments, courts, law enforcement officials and
             national security authorities in the United States according to its laws. Subject to the applicable laws, we will
             use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
             Personal Information. By submitting your Personal Information, you consent to having your personal data
             transferred to, processed, and stored in the United States. Angie's List may assign you a user ID and a
             password when you as part of your participation and access to the Site and Services. Your user ID and
             password may only be used by you and the members of your household. You may not share your user ID
             and password with anyone else, and you are solely responsible for maintaining and protecting the
             confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
             user ID and password. You can access and update your login information on your "Manage My Accounts"
             webpage.

             Credit Card Information

             We may share credit card information with trusted third parties in order to bill you for our service. We use
             third parties for secure credit card transaction processing, and we send billing information to those third
             parties to process your orders and payments or to validate your credit card information on file. Credit card
             information is encrypted during transmission and whenever stored within our systems or with our vendors. In
             addition to utilizing encryption that meets the US Government’s FIPS 140-2 Certification, we take care to
             store only the amount of information required to bill you for services.
                                                                                             EXHIBIT A, Page 6 of 15
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Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 44 of 77 Page ID #:486
             Our credit card processing vendors use security measures to protect your information both during the
             transaction and after it’s complete. Credit card processing vendors are certified as compliant with multiple
             industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
             1, the SSAE-16 audit standard.

             Third Party Websites and Links

             Please note that you may have cookies placed on your computer by third party websites that refer you to
             the Site. Although we do not share your Personal Information with these third party websites unless you
             have authorized us to do so, they may be able to link certain non-personally identifiable information we
             transfer to them with Personal Information they previously collected from you. Please review the privacy
             policies of each website you visit to better understand their privacy practices. In addition, Angie's List would
             like to inform you that anytime you click on links (including advertising banners), which take you to third
             party websites, you will be subject to the third parties' privacy policies. While we support the protection of
             our customer's privacy on the Internet, Angie's List expressly disclaims any and all liability for the actions of
             third parties, including but without limitation to actions relating to the use and/or disclosure of Personal
             Information by third parties.

             Our Site and Services may contain links to other sites operated by third parties. Angie's List does not control
             such other sites and is not responsible for their content, their privacy policies, or their use of Personal
             Information. Angie's List's inclusion of such links does not, by itself, imply any endorsement of the content
             on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
             submitted by you directly to these third parties is subject to that third party's privacy policy.

             Children's Privacy

             Angie's List does not intend the Site and Services to be used by individuals under the age of majority within
             the jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
             Angie's List relies upon such parents or guardians to determine if the Site and Services is appropriate for
             the viewing, access, or participation by such individuals under the age of majority. If an individual under the
             age of majority uses the Site and Services, such individual may only use the Site and Services under the
             supervision of a parent or guardian of majority age.

             We do not seek or knowingly collect any Personal Information about children under 13 years of age. If we
             become aware that we have unknowingly collected Personal Information from a child under the age of 13,
             we will make commercially reasonable efforts to delete such information from our database.

             If you are the parent or guardian of a minor child who has provided us with Personal Information, you may
             contact us using the information below to request it be deleted.

             Governing Law; Visitors Residing Outside the United States

             This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
             Angie's List provides its services.

             Your California Privacy Rights

             This privacy policy describes how we may share your information for marketing purposes. It applies to all
             Angie’s List customers, including California residents:

                                                                                             EXHIBIT A, Page 7 of 15
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Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 45 of 77 Page ID #:487
                     We share information with others as more fully set forth above in Disclosures and Transfers of
                     Information.

                     We share your information with other parts of our business and with our service providers. See
                     above: Disclosures and Transfers of Information.

             You may contact us with any questions, or to request a list of third parties to whom we may disclose
             information for marketing purposes and the categories of information we may disclose. See below:
             How to Contact us.

             How To Contact us

             All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
             please contact our Privacy Officer by mail or email at the following:

             Attn: Privacy Officer

             Angie's List

             1030 E. Washington St.

             Indianapolis, IN 46202

             E-mail: privacyofficer@angieslist.com

             We welcome your questions and comments.

             Service Provider's User Agreement
              Version2.0
              Version 2.0(Current)
                           (Current)

             Effective April 7, 2017 to November 3, 2017
             Download




             Service Provider’s User Agreement

             Last Updated March 1, 2017

             Angie’s List, Inc. allows consumers who subscribe to be a member of Angie’s List (collectively, the
             “Members”) to provide reviews and ratings on a variety of service companies and health related providers
             (collectively, a “Service Provider”) with whom they have had first-hand experiences. On behalf, and as
             representative, of a Service Provider (“You” or “Company”), You are permitted to use the website
             (www.angieslist.com) (the “Website”) and the information contained therein subject to the terms and
             conditions contained in this Service Provider’s User Agreement, which may be modified, amended or
             replaced by Angie’s List from time to time at Angie’s List sole discretion (collectively, the “Agreement”). Such
             modifications will become effective immediately upon the posting thereof. This Agreement shall also govern
             other aspects of Your relationship with Angie’s List beyond Your use of the Website, as described herein.

             In consideration of Angie’s List granting the Company access to its Website and the information contained
             therein, and in order to use the Website, You must read and accept all of the Terms and Conditions in, and
             linked to, this Agreement. It is the Company’s responsibility to review this Agreement on a regular basis to
                                                                                             EXHIBIT A, Page 8 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 46 of 77 Page ID #:488
             keep itself informed of any modifications. BY ACCEPTING THE TERMS AND CONDITIONS OF THIS
             AGREEMENT, THE COMPANY ACKNOWLEDGES IT HAS READ, UNDERSTANDS AND AGREES TO
             BE BOUND BY ALL OF THE TERMS, CONDITIONS, AND NOTICES CONTAINED IN THIS AGREEMENT
             JUST AS IF YOU HAD SIGNED THIS AGREEMENT.

             Terms and Conditions

             Members may submit a review or report and other information (collectively, “Member Content”) on any
             Service Provider with which they have communicated or had another first-hand experience, whether or not
             work was started, performed, or completed. If the Company disputes any Member Content, the Company’s
             sole course of action with respect to such Member Content as it relates to Angie’s List and the Website is to
             utilize the Services (as defined below) which are available online at the Website.

             By agreeing to the Terms and Conditions of this Agreement, the Company is hereby permitted to use the
             services offered to Service Provider’s including, without limitation, access to ”Business Center”, the ability to
             review Member Content pertaining to the Company, the ability to submit responses to Member Content, the
             ability to update and maintain profile information on the Company, the ability to utilize the dispute resolution
             process offered through the Website and facilitated by Angie’s List and such other services that Angie’s
             List may offer to Service Providers from time to time (collectively, the “Services”).

             By agreeing to the Terms and Conditions of this Agreement, Angie’s List grants the Company a limited
             license to access and use the Website and the Services. Notwithstanding the foregoing, the Company
             acknowledges and agrees that it will not access, reproduce, duplicate, copy, sell, re-sell, visit or otherwise
             exploit the Website (or any of the content therein including, without limitation, any Member Content or any
             Member profiles) or Services for any commercial or other purpose, without the express written consent
             of Angie’s List.

             Angie’s List does not endorse and is not responsible or liable for any Member Content, SP Content (as
             defined below), data, advertising, products, goods or services available or unavailable from, or
             through, Angie’s List. The statements, information and ratings contained in any Member Content are solely
             the opinion of the Member submitting such Member Content and do not reflect the opinion of Angie’s List or
             any of its affiliates or subsidiaries or any of their respective owners, managers, officers, employees, agents
             or representatives.

             The Company acknowledges and understands that Angie’s List simply acts as a passive conduit and an
             interactive computer provider for the publication and distribution of Member Content and SP Content.
             Angie’s List does not have any duty or obligation to investigate the accuracy of Member Content or the
             quality of the work performed by the Company or any other Service Provider which is the subject of any
             Member Content. By using the Services, the Company agrees that it is solely the Company’s responsibility
             to evaluate the Company’s risks associated with the use, accuracy, usefulness, completeness,
             appropriateness or legality of any information, responses, writings or other materials that the Company
             submits, transmits or otherwise conveys through the Services (collectively, “SP Content”).

             Under no circumstances will Angie’s List be liable in any way for any Member Content or SP Content
             including, but not limited to, any Member Content or SP Content that contains, errors, omissions or
             defamatory statements, or for any loss or damage of any kind incurred as a result of the use of any Member
             Content or SP Content submitted, accessed, transmitted or otherwise conveyed via the Services or
             otherwise.
                                                                                             EXHIBIT A, Page 9 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 47 of 77 Page ID #:489
             The Company hereby waives any claims, rights or actions that it may have against Angie’s List or any of its
             affiliates or subsidiaries with respect to any Member Content or SP Content and releases Angie’s List and
             each of its affiliates and subsidiaries from any and all liability for or relating to Member Content or SP
             Content.

             The Company agrees to indemnify and hold Angie’s List and each of its affiliates and subsidiaries and their
             respective owners, managers, officers, employees, agents or representatives harmless for any damages
             that may arise, directly or indirectly, from any claim or right it may have against Angie’s List with respect to
             any statements made by a Member or Member Content submitted by a Member which is communicated,
             posted or published by Angie’s List on its Website or to a third party.

             The Company acknowledges and agrees that the Company can neither require Angie’s List to place the
             Company on its Website nor remove the Company or any Member Content from Angie’s List. The Company
             further acknowledges and understands that the Company is not a Member of Angie’s List, cannot refer to
             itself as a Member of Angie’s List, and is not afforded the same access to the Website as a Member nor the
             benefits afforded to a Member.

             The Company and its current or former owners, directors, managers, employees, agents and family
             members are expressly prohibited from purchasing gift memberships to Angie’s List or reimbursing clients or
             customers for their Angie’s List membership cost. In addition, individuals affiliated with the Company
             including, without limitation, current or former owners, current or former employees or officers, family
             members, or current or former partners, investors, managers or directors (collectively, the “Affiliated
             Persons”) may not submit Member Content to Angie’s List on the Company. The Company hereby
             acknowledges and agrees that to the extent an Affiliated Person has submitted or posted any Member
             Content on the Company or any company or person competitive to the Company, or believes that Member
             Content was posted by an Affiliated Person that Angie’s List may immediately remove such Member
             Content without notice or recourse against Angie’s List.

              SP Content shall not contain any unauthorized content which includes but is not limited to:

             a. Offensive, harmful and/or abusive language, including without limitation: expletives, profanities,
             obscenities, harassment, vulgarities, sexually explicit language and hate speech (e.g., racist/discriminatory
             speech.);

             b. Comments that do not address the Member Content or comments with no qualitative value as determined
             by Angie’s List in its sole discretion;

             c. Content that contains personal attacks or describes physical confrontations and/or sexual harassment;

             d. Messages that are advertising or commercial in nature, or are inappropriate based on the applicable
             subject matter;

             e. Language that violates the standards of good taste or the standards of the Website, as determined
             by Angie’s List in its sole discretion;

             f. Content determined by Angie’s List, in its sole discretion, to be illegal, or to violate any federal, state, or
             local law or regulation or the rights of any other person or entity;

             g. Language intended to impersonate other users (including names of other individuals) or to be offensive
             or inappropriate user names or signatures; and/or
                                                                                            EXHIBIT A, Page 10 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 48 of 77 Page ID #:490
             h. Content that is not in English, that is encrypted or that contains viruses, Trojan horses, worms, time
             bombs, cancelbots or other computer programming routines that are intended to damage, interfere with,
             intercept or appropriate any system, data or personal information.

             The Company acknowledges and agrees that Angie’s List in its sole discretion may remove without notice
             any SP Content or any portion thereof that Angie’s List believes violates the foregoing.

             Angie’s List may suspend, restrict or terminate the Company’s use of the Services or any portion thereof if
             the Company breaches or fails to comply with any of the Terms and Conditions of this Agreement.

             Although Angie’s List does not claim ownership of any SP Content or other communications or materials
             submitted by or given by the Company to Angie’s List, by providing SP Content for the Website or other
             mediums, the Company automatically grants, and the Company represents and warrants that the Company
             has the right to grant, to Angie’s List an irrevocable, perpetual, non-exclusive, fully paid, worldwide license
             to use, copy, perform, display, reproduce, adapt, modify, and distribute such SP Consent and to prepare
             derivative works of, or incorporate into other works, such SP Content, and to grant and to authorize
             sublicenses (through multiple tiers) of the foregoing. In addition, by providing Angie’s List with SP Content,
             the Company automatically grants Angie’s List all rights necessary to prohibit the subsequent aggregation,
             display, copying, duplication, reproduction or exploitation of SP Content on the Website or in any other
             medium by any other party. No compensation will be paid with respect to Angie’s List use of SP Content.
             Angie’s List is under no obligation to post or use any of SP Content or maintain SP Content. Angie’s
             List may remove SP Content at any time in Angie’s List sole discretion.

             It is the Company’s sole responsibility to review and monitor any Member Content regarding the Company
             that is posted by Members and to submit responses it deems necessary to any Member Content. Angie’s
             List does not have any obligation to provide a notice or update to the Company with respect to any new
             information or Member Content that it learns of or receives about the Company from its Members.

             The Company has the sole responsibility of updating any and all of its information on the Website including,
             without limitation, the Company’s description and profile information.

             The Company agrees not to use or cause any robot, bot, spider, other automatic device, or computer
             program routine or manual process to monitor, duplicate, take, obtain, transfer, modify, use, reproduce,
             aggregate or copy Angie’s List, any Member Content, any Member profiles, SP Content (including SP
             profiles) or any other content contained on the Website or any other publication of Angie’s List. You shall not
             use or cause any device, software, or routine to interfere or attempt to interfere with the proper working of
             the Website.

             The Company hereby represents and warrants to Angie’s List that (a) all information provided to Angie’s
             List by the Company is true, complete and accurate in all respects, and (b) the Company is authorized to
             submit information to Angie’s List. Angie’s List is authorized by the Company to rely upon the truthfulness,
             completeness and accuracy of SP Content in order to serve its Members.

             The Company acknowledges that the Website utilizes one or more website analytic services, including,
             without limitation, ClickTale, which may record mouse clicks, mouse movements, scrolling activity and text
             entered into the Website by users. These services do not collect personally identifiable information that is
             not voluntarily entered into the Website by the user. Angie’s List uses the information collected by these
             service providers to improve the usability and other features of the Website. Users may choose to disable
                                                                                           EXHIBIT A, Page 11 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 49 of 77 Page ID #:491
             the ClickTale service at http://www.clicktale.net/disable.html.

             The Company acknowledges that Angie’s List will use the telephone numbers, email addresses and
             facsimile numbers that are submitted to Angie’s List in connection with registering with Angie’s List to
             contact the Company with information regarding Angie’s List. Angie’s List agrees not to sell, trade, rent or
             share such information with any third parties. By providing a wireless phone number to Angie’s List,
             Company agrees that Angie’s List may call or send text messages to the wireless phone number for any
             purpose, including marketing purposes, using all methods now known and discovered in the future,
             including, but not limited to, auto-dialers, pre-recordings, and general telemarketing practices. Company
             agrees that these calls or text messages may be regarding the products and/or services that Company has
             previously purchased and products and/or services that Angie’s List may market to me. Company
             acknowledges that this consent may be removed upon request.

             To the extent a third party posts or submits any SP Content or manages the Company’s profile or
             information on the Website, the Company hereby acknowledges and agrees that the Company shall remain
             fully responsible for any SP Content or information posted or submitted by such third party.

             The Company agrees unless expressly authorized by Angie’s List not to access, copy, duplicate use,
             reproduce, alter, modify, create derivative works, display, sell, re-sell, advertise or market with or otherwise
             exploit for any commercial, educational or other purpose any Member Content, any Member profiles, any
             SP profiles, or any other content from the Website or Angie’s List, including, without limitation, any reviews
             or ratings or any other content contained in any Member Content.

             Angie’s List is the owner and/or authorized user of any trademark and/or service mark, including, without
             limitation, the name “Angie’s List”, appearing on the Website and is copyright owner or licensee of the
             content and/or information on the Website. By placing them on the Website, Angie’s List does not grant the
             Company any license or other authorization to copy or use its trademarks, service marks, copyrighted
             material, or other intellectual property, except as provided herein.

             Angie’s List reserves the right to exercise any rights or remedies which may be available to it against the
             Company if the Terms and Conditions of this Agreement are violated by the Company. These remedies
             include, but are not limited to, revocation of (a) Super Service Awards (present & past) and any associated
             license, (b) advertising privileges, (c) use of the Services, or (d) appearances on the Website and/or any
             other appearances in any Angie’s List’s publication, and Company agrees that the exercise of one remedy
             shall not preclude the availability of any other remedy.

             The Company understands and agrees that, because damages resulting from Company’s breach of this
             Agreement are difficult to calculate, if it becomes necessary for Angie’s List to pursue legal action to enforce
             the Terms and Conditions of this Agreement, the Company will be liable to pay Angie’s List the following
             amounts as liquidated damages, which the Company accepts as reasonable estimates of Angie’s List’s
             damages for the specified breaches of this Agreement:

             a. If the Company posts SP Content in violation of this Agreement, the Company agrees to promptly
             pay Angie’s List One Thousand Dollars ($1,000) for each item of SP Content posted in violation of this
             Agreement. Angie’s List may (but is not required) issue the Company a warning before assessing damages.

             b. If the Company exploits for any purpose (commercial or otherwise) any Member Content, Member
             profiles or any other information contained on the Website including, without limitation, ratings and/or

                                                                                           EXHIBIT A, Page 12 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 50 of 77 Page ID #:492
             reviews in violation of this Agreement, the Company agrees to pay Ten Thousand Dollars ($10,000) per
             report, record or review exploited.

             c. If the Company uses or causes any robot, bot, spider, other automatic device or computer program
             routine or any manual process to monitor, duplicate, take, aggregate, obtain, modify, use, reproduce or copy
             any Member Content, any member profiles, SP content (including SP profiles) or any other content
             contained on the Website or in any other publication of Angie’s List, the Company agrees to pay One
             Hundred Dollars ($100) for each report, record, review or other information that is monitored, duplicated,
             transferred, taken, obstructed, modified, used, reproduced, aggregated or copied.

              d. Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, the Company agrees to pay
             the actual damages suffered by Angie’s List to the extent such actual damages can be reasonably
             calculated.

              Notwithstanding any other provision of this Agreement, the Company reserves the right to seek the remedy
             of specific performance of any term contained herein, or a preliminary or permanent injunction against the
             breach of any such term or in aid of the exercise of any power granted in this Agreement, or any
             combination thereof.



             THE COMPANY EXPRESSLY UNDERSTANDS AND AGREES THAT ANGIE’S LIST WILL NOT BE
             LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, COMPENSATORY,
             CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN IF ANGIE’S LIST HAS BEEN ADVISED OF THE
             POSSIBILITY OF SUCH DAMAGES) (COLLECTIVELY, “DAMAGES”), RESULTING FROM: (A) THE USE
             OR INABILITY TO USE THE SERVICES; (B) THE COST OF ANY GOODS AND/OR SERVICES
             PURCHASED OR OBTAINED AS A RESULT OF THE USE OF THE SERVICES; (C) DISCLOSURE OF,
             UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR SP CONTENT; (D) SP
             CONTENT THE COMPANY MAY SUBMIT, RECEIVE, ACCESS, TRANSMIT OR OTHERWISE CONVEY
             THROUGH THE SERVICES OR THIS AGREEMENT; (E) STATEMENTS OR CONDUCT OF ANY
             MEMBER OR OTHER THIRD PARTY THROUGH THE SERVICES; (F) ANY OTHER MATTER RELATING
             TO THE SERVICES; (G) ANY BREACH OF THIS AGREEMENT BY ANGIE’S LIST OR THE FAILURE OF
             ANGIE’S LIST TO PROVIDE THE SERVICES UNDER THIS AGREEMENT; (H) ANY MEMBER CONTENT
             POSTED; OR (I) ANY OTHER DEALINGS OR INTERACTIONS THE COMPANY HAS WITH ANY
             SERVICE PROVIDER (OR ANY OF THEIR REPRESENTATIVES OR AGENTS). THESE LIMITATIONS
             SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW. In some jurisdictions, limitations of
             liability are not permitted. In such jurisdictions, some of the foregoing limitations may not apply to the
             Company.

              TO THE EXTENT ANGIE’S LIST IS FOUND LIABLE FOR ANYTHING RELATED TO THIS AGREEMENT
             OR THE USE OF THE SERVICES, ANGIE’S LIST’S LIABILITY FOR DAMAGES WILL NOT EXCEED ONE
             HUNDRED DOLLARS ($100.00).

              This Agreement and the relationship between the Company and Angie’s List will be governed by the
             internal laws of the State of Indiana, notwithstanding the choice of law provisions or conflict of law analysis
             of the venue where any action is brought, where the violation occurred, where the Company may be located
             or any other jurisdiction. The Company agrees and consents to the exclusive jurisdiction of the state or
             federal courts located in Indianapolis, Indiana and waives any defense of lack of personal jurisdiction or
                                                                                           EXHIBIT A, Page 13 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 51 of 77 Page ID #:493
             improper venue or forum non conveniens to a claim brought in such court, except that Angie’s List may
             elect, in its sole discretion, to litigate the action in the county or state where any breach by the Company
             occurred or where the Company can be found. The Company agrees that regardless of any statute or law to
             the contrary, any claim or cause of action arising out or related to your use of the Service or this Agreement
             shall be filed within one (1) year after such claim or cause of action arose or will forever be barred.

              In the event this Agreement is terminated, certain provisions of this Agreement will continue to remain in
             effect, including, but not limited to, Sections 4-7, 10, 19-26, and 28.

              The Company agrees to indemnify and hold Angie’s List and each of its affiliates and subsidiaries and each
             of their respective owners, officers, agents, managers, partners, employees, agents and representatives
             harmless from any loss, liability, claim, or demand, including reasonable attorneys’ fees (whether incurred in
             enforcing this Agreement or otherwise), made by any third party due to or arising out of the Company’s use
             of Angie’s List.

              Angie’s List may modify or restate the Terms and Conditions of this Agreement and such modification(s)
             will be effective immediately upon being posted on the Website. Angie’s List will make note of the date of
             the last update to the Agreement on the first page of this Agreement. The Company is responsible for
             reviewing these terms and conditions regularly. The Company’s continued use of the Services after such
             modifications will be deemed to be the Company’s conclusive acceptance of all modifications to this
             Agreement.

              The Company agrees that Angie’s List shall be entitled to payment from the Company for any and all out-
             of-pocket costs, including, without limitation, attorneys’ fees, incurred by Angie’s List in connection with
             enforcing these Terms and Conditions and this Agreement or otherwise.

              The Services may be subject to limitations, delays and other problems inherent in the use of the internet
             and electronic communications. Angie’s List is not responsible for any delays, failures or other damage
             resulting from such problems.

              This Agreement may not be re-sold or assigned by the Company. If the Company assigns, or tries to
             assign, this Agreement, such assignment or attempted assignment will be void and unenforceable. It will not
             be considered a waiver of Angie’s List’s rights if Angie’s List fails to enforce any of the terms or conditions of
             this Agreement against the Company. In the event a court finds a provision in this Agreement to not be
             valid, the Company and Angie’s List agrees that such court should incorporate a similar provision that would
             be considered valid, with all other provisions remaining valid in the Agreement. No joint venture,
             partnership, employment or agency relationship exists between the Company and Angie’s List as a result of
             this Agreement or use of the Services.

              The person agreeing to this Agreement and the Terms and Conditions on behalf of the Company hereby
             represents and warrants that he/she has the power and authority to bind the Company and that this
             Agreement and the Terms and Conditions constitutes a valid and binding agreement of the Company.

             IF YOU DO NOT AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT, YOU
             MUST NOT USE THE SERVICES. BY USING THE SERVICES, YOU ACKNOWLEDGE THAT YOU HAVE
             READ AND UNDERSTOOD THE TERMS AND CONDITIONS OF THIS AGREEMENT AND YOU AGREE
             TO BE BOUND BY THESE TERMS AND CONDITIONS.



                                                                                           EXHIBIT A, Page 14 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 52 of 77 Page ID #:494
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                                                                                           EXHIBIT A, Page 15 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%201.0.html[7/15/2019 3:59:29 PM]
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 53 of 77 Page ID #:495




                         EXHIBIT “B”
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 54 of 77 Page ID #:496



                                                                                                   Legal Center


             Privacy Policy

             Service Provider's User Agreement

             Terms of Use

             Projects Submission Customer Agreement

             Advertising and Deals Agreement

             Angie's List Mobile Alerts Terms and Conditions




             Privacy Policy
              Version1.0
              Version 1.0(Current)
                           (Current)

             Effective April 7, 2017
             Download




             Angie's List Privacy Policy

             Last Modified February 13, 2017

             This Privacy Policy discloses our privacy practices and the possible uses of the information that we gather
             via http://www.angieslist.com/, our mobile application(s), and via other submissions by you to Angie's List
             (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
             Policy. If you do not agree to the terms and conditions of this Privacy Policy, including having your
             personally identifiable information ("Personal Information" as defined below) used in any of the ways
             described in this Privacy Policy, you may not be able to use certain parts or features of our Site and
             Services, and in some instances, this may necessitate the revocation of your membership. Angie's List may
             update this Privacy Policy from time-to-time in our sole discretion. It is your responsibility to review the
             Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
             changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
             that you agree to and accept the Privacy Policy as modified.

             This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
             services, our print publications, our call center services, and other Angie's List products or services. This
             Privacy Policy is part of our Angie's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                             EXHIBIT B, Page 1 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 55 of 77 Page ID #:497
             our Site and Services.

             Information Collected

             Angie's List collects information on our users in various ways, such as, by your voluntary submissions,
             participation in services provided via the Site and Services, from third parties with your consent, and through
             cookie and other tracking technology. Angie's List collects the following information:

                     Personal Information

             "Personal Information" refers to information that tells us specifically who you are, such as your name, phone
             number, email, postal address, and possibly information relating to certain support or customer service
             issues. In many cases, we need this information to provide to you many of the services that you may have
             requested.

                     Cellular Phone Numbers

             By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
             on our behalf to deliver autodialed or prerecorded telemarketing calls and/or text messages to the number
             you provide. You are not required to consent to these calls as a condition to purchasing any goods or
             services, but withholding your consent may prevent us from providing certain services to you. This consent
             encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
             party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
             contacting Angie’s List, including by texting STOP.

                     Submission of Reviews, Ratings, and Comments

             We collect information that you voluntarily provide as part of our Site and Services, including messages,
             posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
             Generated Content"). Angie's List may in our sole discretion share your User Generated Content with others
             such as your business reviews. If you do not want certain information shared with others, you should not
             submit User Generated Content, or should not submit User Generated Content that contains information or
             Personal Information you do not want shared in this manner. Once You have submitted User Generated
             Content, we reserve the right to publish it in any medium to others.

                     Aggregate Information

             We may collect general, non-personal, statistical information about the use of the Site and Services, such
             as how many visitors visit a specific page on the Site, how long they stay on that page, and which
             hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
             collective viewing habits, and allows us and other third parties to modify information, promotions, offers
             and/or discounts on products and services based on user traffic and behavior. We collect this information
             through the use of technologies such as 'cookies' and web beacons, which are discussed in greater detail
             below. We collect this information in order to help enhance the Site and Services to make for a better visitor
             experience.

                     Third Party Information

             We may supplement information you provide to us with information from other sources, such as information
             to validate or update your address, payment card or other demographic and lifestyle information. We use
             this information to help us maintain the accuracy of the information we collect, to enable us to fulfill our
                                                                                             EXHIBIT B, Page 2 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 56 of 77 Page ID #:498
             products and services, to target our communications so that we can inform you of products, services and
             offers that may be of interest, and for internal business analysis or other business purposes consistent with
             our mission.

                     Cookies

             Angie's List may automatically collect non-personally identifiable information and data through the use of
             cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
             access to the website and facilitate the use of the website. Cookies also allow a website to track usage
             behavior and compile site usage information that will allow for the improvement of content and target
             advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
             remove them. You may set your browsers to notify you if you receive a cookie, or you may choose to block
             cookies with your browser. However, please be aware that some features of our Site and Services may not
             function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
             parties with links on the Site as described below. We do not directly control these cookies. The use of
             advertising cookies sent by third party ad servers is standard in the Internet industry.

             We may use the services of third parties to collect and use anonymous information about your visits to and
             interactions with our website through the use of technologies such as cookies to personalize advertisements
             for goods and services. To learn more, or to opt-out of

             receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
             Advertising Alliance Consumer Choice Page at http://www.aboutads.info/choices/.

                     Other Tracking Technologies

             Tracking technologies may record information such as Internet domain and host names; protocol (IP)
             addresses; browser software and operating system types; clickstream patterns; the MAC address or other
             technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
             technologies; and dates and times that our Site and Services are accessed. An IP address is a number that
             is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
             that 'serve up' webpages, automatically identify your computer by its IP address. The Site and Services may
             also use technology called "tracer tags". These may also be referred to as "Pixels", "Clear GIFs" or "Web
             Beacons". This technology allows us to understand which pages you visit on our Site and other ways you
             interact with our Site and Services, such as purchases made through the Site and Services. These tracer
             tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
             Services. We may link the information we record using tracking technologies to Personal Information we
             collect.

                     Do Not Track

             Do Not Track (DNT) is a privacy preference that users can set in some web browsers, allowing users to opt
             out of tracking by websites and online services. At the present time, the World Wide Web Consortium (W3C)
             has not yet established universal standards for recognizable DNT signals and therefore, Angie’s List and the
             Site do not recognize DNT.

             Use of Information

             The information Angie's List collects is used in a variety of ways, including

                                                                                             EXHIBIT B, Page 3 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 57 of 77 Page ID #:499
                     for internal review;

                     to improve the Site and Services;

                     to optimize third-party offers of products and/or services;

                     to verify the legitimacy of reviews and ratings;

                     to notify you about updates to the Site and Services;

                     to let you know about products, services, and promotions that you may be interested in;

                     to get reviews and ratings;

                     for our marketing purposes and the marketing of discounts offered through our Site and Services by
                     service contractors or health care related providers (collectively "Service Providers");

                     to fulfill and provide products and services, including personalized or enhanced services, requested
                     by you; and

                     internal business analysis or other business purposes consistent with our mission; and to carry out
                     other purposes that are disclosed to you and to which you consent.

             Disclosures and Transfers of Information

             We do not disclose Personal Information to third parties, except when one or more of the following
             conditions is true:

                     We have your permission to make the disclosure;

                     The disclosure is necessary for the purpose for which the personal information was obtained;

                     The disclosure is to the service provider from whom you purchased services through Angie’s List’s
                     platform, including without limitation Big Deals, Storefronts, and project submissions;

                     The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                     provision of goods and services requested by you;

                     The disclosure is permitted by relevant law;

                     The Personal Information to be disclosed is otherwise publicly available in accordance with the
                     applicable law;

                     The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                     assets;

                     The disclosure is for our own marketing purposes (including, without limitation, for Angie’s List to
                     market services to you on third-party social media platforms such as Facebook), or, with your
                     authorization, for the marketing purposes of third parties;

                     The disclosure is combined with information collected from other companies and used to improve and
                     personalize services, content, and advertising from us or third parties;

                     The party to whom the disclosure is made controls, is controlled by, or is under common control with
                     Angie's List;

                                                                                             EXHIBIT B, Page 4 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 58 of 77 Page ID #:500
                     The disclosure is in our sole discretion necessary for the establishment or maintenance of legal
                     claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                     connection with litigation;

                     The disclosure is in our sole discretion about users who we believe are engaged in illegal activities or
                     are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                     warrant or court order; or

                     The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                     Site and Services, mailing lists, processing orders and delivering products and services, sending
                     postal mail, processing claims for lost or stolen certificates, providing marketing assistance,
                     confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                     including Administrative Service Providers outside the country or jurisdiction in which you reside.

             Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
             such outside parties to whom we are transferring data to provide for the allowable use and security of the
             transferred information in accordance with this Privacy Policy and applicable law. If Angie's List becomes
             aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
             outside party and request that it take reasonable steps to cease such use or disclosure.

             We may provide certain Personal Information as a service to others for their marketing purposes. We may
             also disclose your name and address to Service Providers when you submit User Generated Content
             relating to those Service Providers. If you properly notify us that you no longer want us to share your
             Personal Information, we will cease sharing your Personal Information. However, except as otherwise stated
             in this Privacy Policy, we do not directly control the third parties to which we share such Personal
             Information and you will need to further notify such third parties directly if you would like them to cease use
             of your Personal Information.

             We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
             existing or potential business partners or other third parties, or in response to a government request. We
             may also share aggregated demographic and preference data with third parties to enable the provision of
             targeted information, promotions, offers and/or discounts on products and services.

             Choice: Accessing Your Information and Opt-in/Opt-out Requests

             To help you review, edit, and control how we use much of the information we collect about you, you can visit
             your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
             information and unsubscribe from receiving specific types of email messages and telephone calls, including
             autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
             unsubscribe from our monthly digital magazine, which is a benefit that is included with your subscription.
             You cannot, however, unsubscribe from receiving certain emails, such as account status and billing related
             emails, unless you close your account and fulfill any existing contractual obligations.

             You can also ask us whether we are keeping information about you; ask how your information is being
             used; ask us to update or correct your information; or opt-out of our collection and use of certain information
             by sending an email to helpdesk@angieslist.com or by writing us at Help Desk, Angie's List, 1030 E.
             Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request. If you choose to
             opt-out of the collection and use of certain of your information, you understand that some services, may no

                                                                                             EXHIBIT B, Page 5 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 59 of 77 Page ID #:501
             longer be available to you, potentially requiring the cancelation of your Membership. Please state in your
             correspondence the details of your request. We may require proof of your identity before we provide you
             with the requested information. We allow you to challenge the data that we hold about you and, where
             appropriate, you may have certain data erased, rectified, amended, or completed. Approved requests will be
             processed within ten (10) days of the date on which we receive the request.

             Data Security, Integrity, and Access

             The Personal Information you provide and we collect is stored within databases that we control directly or
             through our Administrative Service Providers. As we deem appropriate and as required by the applicable
             law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
             industry standards, including physical, organizational and technological protections, such as firewalls, to
             protect your Personal Information. We also use industry standard encryption technology to protect credit
             card and password information. However, since no security system is impenetrable, we cannot guarantee
             the security of our databases, nor can we guarantee that information you supply will not be intercepted while
             being transmitted to us over the Internet.

             Personal Information may only be accessed by persons within our organization, our third party service
             providers who require such access to provide you with the services indicated above, or any other party that
             you have provided us with authorization to share such information with.

             We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
             for which it was collected or to otherwise meet any legal requirements.

             Your information may be transferred to, and maintained on, computers located outside of your state,
             province/territory, or country where the privacy laws may not be as protective as those where you live. If you
             are located outside the United States and choose to provide information to us, please be aware that we
             transfer Personal Information to the United States and process and store it there. As a result, this
             information may be subject to access requests from governments, courts, law enforcement officials and
             national security authorities in the United States according to its laws. Subject to the applicable laws, we will
             use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
             Personal Information. By submitting your Personal Information, you consent to having your personal data
             transferred to, processed, and stored in the United States. Angie's List may assign you a user ID and a
             password when you as part of your participation and access to the Site and Services. Your user ID and
             password may only be used by you and the members of your household. You may not share your user ID
             and password with anyone else, and you are solely responsible for maintaining and protecting the
             confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
             user ID and password. You can access and update your login information on your "Manage My Accounts"
             webpage.

             Credit Card Information

             We may share credit card information with trusted third parties in order to bill you for our service. We use
             third parties for secure credit card transaction processing, and we send billing information to those third
             parties to process your orders and payments or to validate your credit card information on file. Credit card
             information is encrypted during transmission and whenever stored within our systems or with our vendors. In
             addition to utilizing encryption that meets the US Government’s FIPS 140-2 Certification, we take care to
             store only the amount of information required to bill you for services.
                                                                                             EXHIBIT B, Page 6 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 60 of 77 Page ID #:502
             Our credit card processing vendors use security measures to protect your information both during the
             transaction and after it’s complete. Credit card processing vendors are certified as compliant with multiple
             industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
             1, the SSAE-16 audit standard.

             Third Party Websites and Links

             Please note that you may have cookies placed on your computer by third party websites that refer you to
             the Site. Although we do not share your Personal Information with these third party websites unless you
             have authorized us to do so, they may be able to link certain non-personally identifiable information we
             transfer to them with Personal Information they previously collected from you. Please review the privacy
             policies of each website you visit to better understand their privacy practices. In addition, Angie's List would
             like to inform you that anytime you click on links (including advertising banners), which take you to third
             party websites, you will be subject to the third parties' privacy policies. While we support the protection of
             our customer's privacy on the Internet, Angie's List expressly disclaims any and all liability for the actions of
             third parties, including but without limitation to actions relating to the use and/or disclosure of Personal
             Information by third parties.

             Our Site and Services may contain links to other sites operated by third parties. Angie's List does not control
             such other sites and is not responsible for their content, their privacy policies, or their use of Personal
             Information. Angie's List's inclusion of such links does not, by itself, imply any endorsement of the content
             on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
             submitted by you directly to these third parties is subject to that third party's privacy policy.

             Children's Privacy

             Angie's List does not intend the Site and Services to be used by individuals under the age of majority within
             the jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
             Angie's List relies upon such parents or guardians to determine if the Site and Services is appropriate for
             the viewing, access, or participation by such individuals under the age of majority. If an individual under the
             age of majority uses the Site and Services, such individual may only use the Site and Services under the
             supervision of a parent or guardian of majority age.

             We do not seek or knowingly collect any Personal Information about children under 13 years of age. If we
             become aware that we have unknowingly collected Personal Information from a child under the age of 13,
             we will make commercially reasonable efforts to delete such information from our database.

             If you are the parent or guardian of a minor child who has provided us with Personal Information, you may
             contact us using the information below to request it be deleted.

             Governing Law; Visitors Residing Outside the United States

             This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
             Angie's List provides its services.

             Your California Privacy Rights

             This privacy policy describes how we may share your information for marketing purposes. It applies to all
             Angie’s List customers, including California residents:

                                                                                             EXHIBIT B, Page 7 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 61 of 77 Page ID #:503
                     We share information with others as more fully set forth above in Disclosures and Transfers of
                     Information.

                     We share your information with other parts of our business and with our service providers. See
                     above: Disclosures and Transfers of Information.

             You may contact us with any questions, or to request a list of third parties to whom we may disclose
             information for marketing purposes and the categories of information we may disclose. See below:
             How to Contact us.

             How To Contact us

             All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
             please contact our Privacy Officer by mail or email at the following:

             Attn: Privacy Officer

             Angie's List

             1030 E. Washington St.

             Indianapolis, IN 46202

             E-mail: privacyofficer@angieslist.com

             We welcome your questions and comments.

             Service Provider's User Agreement
              Version2.0
              Version 2.0(Current)
                           (Current)

             Effective November 3, 2017
             Download




                 Summary of changes
                 References to Member Reviews have been changed to Consumer Reviews.



             Service Provider’s User Agreement

             Last Updated November 3, 2017

             Angie’s List, Inc. allows consumers of Angie’s List (collectively, the “Consumers”) to provide reviews and
             ratings on a variety of service companies and health related providers (collectively, a “Service Provider”)
             with whom they have had first-hand experiences. On behalf, and as representative, of a Service Provider
             (“You” or “Company”), You are permitted to use the website (www.angieslist.com) (the “Website”) and the
             information contained therein subject to the terms and conditions contained in this Service Provider’s User
             Agreement, which may be modified, amended or replaced by Angie’s List from time to time at Angie’s List
             sole discretion (collectively, the “Agreement”). Such modifications will become effective immediately upon

                                                                                             EXHIBIT B, Page 8 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 62 of 77 Page ID #:504
             the posting thereof. This Agreement shall also govern other aspects of Your relationship with Angie’s List
             beyond Your use of the Website, as described herein.

             In consideration of Angie’s List granting the Company access to its Website and the information contained
             therein, and in order to use the Website, You must read and accept all of the Terms and Conditions in, and
             linked to, this Agreement. It is the Company’s responsibility to review this Agreement on a regular basis to
             keep itself informed of any modifications. BY ACCEPTING THE TERMS AND CONDITIONS OF THIS
             AGREEMENT, THE COMPANY ACKNOWLEDGES IT HAS READ, UNDERSTANDS AND AGREES TO
             BE BOUND BY ALL OF THE TERMS, CONDITIONS, AND NOTICES CONTAINED IN THIS AGREEMENT
             JUST AS IF YOU HAD SIGNED THIS AGREEMENT.

             Terms and Conditions

             Consumers may submit a review or report and other information (collectively, “Consumer Content”) on any
             Service Provider with which they have communicated or had another first-hand experience, whether or not
             work was started, performed, or completed. If the Company disputes any Consumer Content, the
             Company’s sole course of action with respect to such Consumer Content as it relates to Angie’s List and the
             Website is to utilize the Services (as defined below) which are available online at the Website.

             By agreeing to the Terms and Conditions of this Agreement, the Company is hereby permitted to use the
             services offered to Service Provider’s including, without limitation, access to ”Business Center”, the ability to
             review Consumer Content pertaining to the Company, the ability to submit responses to Consumer Content,
             the ability to update and maintain profile information on the Company, the ability to utilize the dispute
             resolution process offered through the Website and facilitated by Angie’s List and such other services that
             Angie’s List may offer to Service Providers from time to time (collectively, the “Services”).

             By agreeing to the Terms and Conditions of this Agreement, Angie’s List grants the Company a limited
             license to access and use the Website and the Services. Notwithstanding the foregoing, the Company
             acknowledges and agrees that it will not access, reproduce, duplicate, copy, sell, re-sell, visit or otherwise
             exploit the Website (or any of the content therein including, without limitation, any Consumer Content or any
             profiles of Angie’s List members) or Services for any commercial or other purpose, without the express
             written consent of Angie’s List.

             Angie’s List does not endorse and is not responsible or liable for any Consumer Content, SP Content (as
             defined below), data, advertising, products, goods or services available or unavailable from, or through,
             Angie’s List. The statements, information and ratings contained in any Consumer Content are solely the
             opinion of the Consumer submitting such Consumer Content and do not reflect the opinion of Angie’s List or
             any of its affiliates or subsidiaries or any of their respective owners, managers, officers, employees, agents
             or representatives.

             The Company acknowledges and understands that Angie’s List simply acts as a passive conduit and an
             interactive computer provider for the publication and distribution of Consumer Content and SP Content.
             Angie’s List does not have any duty or obligation to investigate the accuracy of Consumer Content or the
             quality of the work performed by the Company or any other Service Provider which is the subject of any
             Consumer Content. By using the Services, the Company agrees that it is solely the Company’s
             responsibility to evaluate the Company’s risks associated with the use, accuracy, usefulness, completeness,
             appropriateness or legality of any information, responses, writings or other materials that the Company
             submits, transmits or otherwise conveys through the Services (collectively, “SP Content”).
                                                                                             EXHIBIT B, Page 9 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 63 of 77 Page ID #:505
             Under no circumstances will Angie’s List be liable in any way for any Consumer Content or SP Content
             including, but not limited to, any Consumer Content or SP Content that contains, errors, omissions or
             defamatory statements, or for any loss or damage of any kind incurred as a result of the use of any
             Consumer Content or SP Content submitted, accessed, transmitted or otherwise conveyed via the Services
             or otherwise.

             The Company hereby waives any claims, rights or actions that it may have against Angie’s List or any of its
             affiliates or subsidiaries with respect to any Consumer Content or SP Content and releases Angie’s List and
             each of its affiliates and subsidiaries from any and all liability for or relating to Consumer Content or SP
             Content.

             The Company agrees to indemnify and hold Angie’s List and each of its affiliates and subsidiaries and their
             respective owners, managers, officers, employees, agents or representatives harmless for any damages
             that may arise, directly or indirectly, from any claim or right it may have against Angie’s List with respect to
             any statements made by a Consumer or Consumer Content submitted by a Consumer which is
             communicated, posted or published by Angie’s List on its Website or to a third party.

             The Company acknowledges and agrees that the Company can neither require Angie’s List to place the
             Company on its Website nor remove the Company or any Consumer Content from Angie’s List. The
             Company further acknowledges and understands that the Company is not a Consumer of Angie’s List,
             cannot refer to itself as a Consumer of Angie’s List, and is not afforded the same access to the Website as a
             Consumer nor the benefits afforded to a Consumer.

             The Company and its current or former owners, directors, managers, employees, agents and family
             members are expressly prohibited from purchasing gift memberships to Angie’s List or reimbursing clients or
             customers for their Angie’s List membership cost. In addition, individuals affiliated with the Company
             including, without limitation, current or former owners, current or former employees or officers, family
             members, or current or former partners, investors, managers or directors (collectively, the “Affiliated
             Persons”) may not submit Consumer Content to Angie’s List on the Company. The Company hereby
             acknowledges and agrees that to the extent an Affiliated Person has submitted or posted any Consumer
             Content on the Company or any company or person competitive to the Company, or believes that
             Consumer Content was posted by an Affiliated Person that Angie’s List may immediately remove such
             Consumer Content without notice or recourse against Angie’s List.

             SP Content shall not contain any unauthorized content which includes but is not limited to:

             a. Offensive, harmful and/or abusive language, including without limitation: expletives, profanities,
             obscenities, harassment, vulgarities, sexually explicit language and hate speech (e.g., racist/discriminatory
             speech.);

             b. Comments that do not address the Consumer Content or comments with no qualitative value as
             determined by Angie’s List in its sole discretion;

             c. Content that contains personal attacks or describes physical confrontations and/or sexual harassment;

             d. Messages that are advertising or commercial in nature, or are inappropriate based on the applicable
             subject matter;

             e. Language that violates the standards of good taste or the standards of the Website, as determined by

                                                                                           EXHIBIT B, Page 10 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 64 of 77 Page ID #:506
             Angie’s List in its sole discretion;

             f. Content determined by Angie’s List, in its sole discretion, to be illegal, or to violate any federal, state, or
             local law or regulation or the rights of any other person or entity;

             g. Language intended to impersonate other users (including names of other individuals) or to be offensive or
             inappropriate user names or signatures; and/or

             h. Content that is not in English, that is encrypted or that contains viruses, Trojan horses, worms, time
             bombs, cancelbots or other computer programming routines that are intended to damage, interfere with,
             intercept or appropriate any system, data or personal information.

             The Company acknowledges and agrees that Angie’s List in its sole discretion may remove without notice
             any SP Content or any portion thereof that Angie’s List believes violates the foregoing.

             Angie’s List may suspend, restrict or terminate the Company’s use of the Services or any portion thereof if
             the Company breaches or fails to comply with any of the Terms and Conditions of this Agreement.

             Although Angie’s List does not claim ownership of any SP Content or other communications or materials
             submitted by or given by the Company to Angie’s List, by providing SP Content for the Website or other
             mediums, the Company automatically grants, and the Company represents and warrants that the Company
             has the right to grant, to Angie’s List an irrevocable, perpetual, non-exclusive, fully paid, worldwide license
             to use, copy, perform, display, reproduce, adapt, modify, and distribute such SP Consent and to prepare
             derivative works of, or incorporate into other works, such SP Content, and to grant and to authorize
             sublicenses (through multiple tiers) of the foregoing. In addition, by providing Angie’s List with SP Content,
             the Company automatically grants Angie’s List all rights necessary to prohibit the subsequent aggregation,
             display, copying, duplication, reproduction or exploitation of SP Content on the Website or in any other
             medium by any other party. No compensation will be paid with respect to Angie’s List use of SP Content.
             Angie’s List is under no obligation to post or use any of SP Content or maintain SP Content. Angie’s List
             may remove SP Content at any time in Angie’s List sole discretion.

             It is the Company’s sole responsibility to review and monitor any Consumer Content regarding the Company
             that is posted by Consumers and to submit responses it deems necessary to any Consumer Content.
             Angie’s List does not have any obligation to provide a notice or update to the Company with respect to any
             new information or Consumer Content that it learns of or receives about the Company from its Consumers.

             The Company has the sole responsibility of updating any and all of its information on the Website including,
             without limitation, the Company’s description and profile information.

             The Company agrees not to use or cause any robot, bot, spider, other automatic device, or computer
             program routine or manual process to monitor, duplicate, take, obtain, transfer, modify, use, reproduce,
             aggregate or copy Angie’s List, any Consumer Content, any Consumer profiles, SP Content (including SP
             profiles) or any other content contained on the Website or any other publication of Angie’s List. You shall not
             use or cause any device, software, or routine to interfere or attempt to interfere with the proper working of
             the Website.

             The Company hereby represents and warrants to Angie’s List that (a) all information provided to Angie’s List
             by the Company is true, complete and accurate in all respects, and (b) the Company is authorized to submit
             information to Angie’s List. Angie’s List is authorized by the Company to rely upon the truthfulness,

                                                                                            EXHIBIT B, Page 11 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 65 of 77 Page ID #:507
             completeness and accuracy of SP Content in order to serve its Consumers.

             The Company acknowledges that the Website utilizes one or more website analytic services, including,
             without limitation, ClickTale, which may record mouse clicks, mouse movements, scrolling activity and text
             entered into the Website by users. These services do not collect personally identifiable information that is
             not voluntarily entered into the Website by the user. Angie’s List uses the information collected by these
             service providers to improve the usability and other features of the Website. Users may choose to disable
             the ClickTale service at http://www.clicktale.net/disable.html.

             The Company acknowledges that Angie’s List will use the telephone numbers, email addresses and
             facsimile numbers that are submitted to Angie’s List in connection with registering with Angie’s List to
             contact the Company with information regarding Angie’s List. Angie’s List agrees not to sell, trade, rent or
             share such information with any third parties. By providing a wireless phone number to Angie’s List,
             Company agrees that Angie’s List may call or send text messages to the wireless phone number for any
             purpose, including marketing purposes, using all methods now known and discovered in the future,
             including, but not limited to, auto-dialers, pre-recordings, and general telemarketing practices. Company
             agrees that these calls or text messages may be regarding the products and/or services that Company has
             previously purchased and products and/or services that Angie’s List may market to me. Company
             acknowledges that this consent may be removed upon request.

             To the extent a third party posts or submits any SP Content or manages the Company’s profile or
             information on the Website, the Company hereby acknowledges and agrees that the Company shall remain
             fully responsible for any SP Content or information posted or submitted by such third party.

             The Company agrees unless expressly authorized by Angie’s List not to access, copy, duplicate use,
             reproduce, alter, modify, create derivative works, display, sell, re-sell, advertise or market with or otherwise
             exploit for any commercial, educational or other purpose any Consumer Content, any Consumer profiles,
             any SP profiles, or any other content from the Website or Angie’s List, including, without limitation, any
             reviews or ratings or any other content contained in any Consumer Content.

             Angie’s List is the owner and/or authorized user of any trademark and/or service mark, including, without
             limitation, the name “Angie’s List”, appearing on the Website and is copyright owner or licensee of the
             content and/or information on the Website. By placing them on the Website, Angie’s List does not grant the
             Company any license or other authorization to copy or use its trademarks, service marks, copyrighted
             material, or other intellectual property, except as provided herein.

             Angie’s List reserves the right to exercise any rights or remedies which may be available to it against the
             Company if the Terms and Conditions of this Agreement are violated by the Company. These remedies
             include, but are not limited to, revocation of (a) Super Service Awards (present & past) and any associated
             license, (b) advertising privileges, (c) use of the Services, or (d) appearances on the Website and/or any
             other appearances in any Angie’s List’s publication, and Company agrees that the exercise of one remedy
             shall not preclude the availability of any other remedy.

             The Company understands and agrees that, because damages resulting from Company’s breach of this
             Agreement are difficult to calculate, if it becomes necessary for Angie’s List to pursue legal action to enforce
             the Terms and Conditions of this Agreement, the Company will be liable to pay Angie’s List the following
             amounts as liquidated damages, which the Company accepts as reasonable estimates of Angie’s List’s
             damages for the specified breaches of this Agreement:
                                                                                           EXHIBIT B, Page 12 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 66 of 77 Page ID #:508
             a. If the Company posts SP Content in violation of this Agreement, the Company agrees to promptly pay
             Angie’s List One Thousand Dollars ($1,000) for each item of SP Content posted in violation of this
             Agreement. Angie’s List may (but is not required) issue the Company a warning before assessing damages.

             b. If the Company exploits for any purpose (commercial or otherwise) any Consumer Content, profiles of
             Angie’s List members or any other information contained on the Website including, without limitation, ratings
             and/or reviews in violation of this Agreement, the Company agrees to pay Ten Thousand Dollars ($10,000)
             per report, record or review exploited.

             c. If the Company uses or causes any robot, bot, spider, other automatic device or computer program
             routine or any manual process to monitor, duplicate, take, aggregate, obtain, modify, use, reproduce or copy
             any Consumer Content, any profiles of Angie’s List members, SP content (including SP profiles) or any
             other content contained on the Website or in any other publication of Angie’s List, the Company agrees to
             pay One Hundred Dollars ($100) for each report, record, review or other information that is monitored,
             duplicated, transferred, taken, obstructed, modified, used, reproduced, aggregated or copied.

             d. Except as set forth in the foregoing subparagraphs (a) through (c), inclusive, the Company agrees to pay
             the actual damages suffered by Angie’s List to the extent such actual damages can be reasonably
             calculated.

             Notwithstanding any other provision of this Agreement, the Company reserves the right to seek the remedy
             of specific performance of any term contained herein, or a preliminary or permanent injunction against the
             breach of any such term or in aid of the exercise of any power granted in this Agreement, or any
             combination thereof.



             THE COMPANY EXPRESSLY UNDERSTANDS AND AGREES THAT ANGIE’S LIST WILL NOT BE
             LIABLE FOR ANY DIRECT, INDIRECT, INCIDENTAL, SPECIAL, PUNITIVE, COMPENSATORY,
             CONSEQUENTIAL OR EXEMPLARY DAMAGES (EVEN IF ANGIE’S LIST HAS BEEN ADVISED OF THE
             POSSIBILITY OF SUCH DAMAGES) (COLLECTIVELY, “DAMAGES”), RESULTING FROM: (A) THE USE
             OR INABILITY TO USE THE SERVICES; (B) THE COST OF ANY GOODS AND/OR SERVICES
             PURCHASED OR OBTAINED AS A RESULT OF THE USE OF THE SERVICES; (C) DISCLOSURE OF,
             UNAUTHORIZED ACCESS TO OR ALTERATION OF YOUR INFORMATION OR SP CONTENT; (D) SP
             CONTENT THE COMPANY MAY SUBMIT, RECEIVE, ACCESS, TRANSMIT OR OTHERWISE CONVEY
             THROUGH THE SERVICES OR THIS AGREEMENT; (E) STATEMENTS OR CONDUCT OF ANY
             CONSUMER OR OTHER THIRD PARTY THROUGH THE SERVICES; (F) ANY OTHER MATTER
             RELATING TO THE SERVICES; (G) ANY BREACH OF THIS AGREEMENT BY ANGIE’S LIST OR THE
             FAILURE OF ANGIE’S LIST TO PROVIDE THE SERVICES UNDER THIS AGREEMENT; (H) ANY
             CONSUMER CONTENT POSTED; OR (I) ANY OTHER DEALINGS OR INTERACTIONS THE COMPANY
             HAS WITH ANY SERVICE PROVIDER (OR ANY OF THEIR REPRESENTATIVES OR AGENTS). THESE
             LIMITATIONS SHALL APPLY TO THE FULLEST EXTENT PERMITTED BY LAW. In some jurisdictions,
             limitations of liability are not permitted. In such jurisdictions, some of the foregoing limitations may not apply
             to the Company.

             TO THE EXTENT ANGIE’S LIST IS FOUND LIABLE FOR ANYTHING RELATED TO THIS AGREEMENT
             OR THE USE OF THE SERVICES, ANGIE’S LIST’S LIABILITY FOR DAMAGES WILL NOT EXCEED ONE

                                                                                           EXHIBIT B, Page 13 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 67 of 77 Page ID #:509
             HUNDRED DOLLARS ($100.00).

             This Agreement and the relationship between the Company and Angie’s List will be governed by the internal
             laws of the State of Indiana, notwithstanding the choice of law provisions or conflict of law analysis of the
             venue where any action is brought, where the violation occurred, where the Company may be located or
             any other jurisdiction. The Company agrees and consents to the exclusive jurisdiction of the state or federal
             courts located in Indianapolis, Indiana and waives any defense of lack of personal jurisdiction or improper
             venue or forum non conveniens to a claim brought in such court, except that Angie’s List may elect, in its
             sole discretion, to litigate the action in the county or state where any breach by the Company occurred or
             where the Company can be found. The Company agrees that regardless of any statute or law to the
             contrary, any claim or cause of action arising out or related to your use of the Service or this Agreement
             shall be filed within one (1) year after such claim or cause of action arose or will forever be barred.

             In the event this Agreement is terminated, certain provisions of this Agreement will continue to remain in
             effect, including, but not limited to, Sections 4-7, 10, 19-26, and 28.

             The Company agrees to indemnify and hold Angie’s List and each of its affiliates and subsidiaries and each
             of their respective owners, officers, agents, managers, partners, employees, agents and representatives
             harmless from any loss, liability, claim, or demand, including reasonable attorneys’ fees (whether incurred in
             enforcing this Agreement or otherwise), made by any third party due to or arising out of the Company’s use
             of Angie’s List.

             Angie’s List may modify or restate the Terms and Conditions of this Agreement and such modification(s) will
             be effective immediately upon being posted on the Website. Angie’s List will make note of the date of the
             last update to the Agreement on the first page of this Agreement. The Company is responsible for reviewing
             these terms and conditions regularly. The Company’s continued use of the Services after such modifications
             will be deemed to be the Company’s conclusive acceptance of all modifications to this Agreement.

             The Company agrees that Angie’s List shall be entitled to payment from the Company for any and all out-of-
             pocket costs, including, without limitation, attorneys’ fees, incurred by Angie’s List in connection with
             enforcing these Terms and Conditions and this Agreement or otherwise.

             The Services may be subject to limitations, delays and other problems inherent in the use of the internet
             and electronic communications. Angie’s List is not responsible for any delays, failures or other damage
             resulting from such problems.

             This Agreement may not be re-sold or assigned by the Company. If the Company assigns, or tries to assign,
             this Agreement, such assignment or attempted assignment will be void and unenforceable. It will not be
             considered a waiver of Angie’s List’s rights if Angie’s List fails to enforce any of the terms or conditions of
             this Agreement against the Company. In the event a court finds a provision in this Agreement to not be
             valid, the Company and Angie’s List agrees that such court should incorporate a similar provision that would
             be considered valid, with all other provisions remaining valid in the Agreement. No joint venture,
             partnership, employment or agency relationship exists between the Company and Angie’s List as a result of
             this Agreement or use of the Services.

             The person agreeing to this Agreement and the Terms and Conditions on behalf of the Company hereby
             represents and warrants that he/she has the power and authority to bind the Company and that this
             Agreement and the Terms and Conditions constitutes a valid and binding agreement of the Company.

                                                                                           EXHIBIT B, Page 14 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 68 of 77 Page ID #:510
             IF YOU DO NOT AGREE TO ALL OF THE TERMS AND CONDITIONS OF THIS AGREEMENT, YOU
             MUST NOT USE THE SERVICES. BY USING THE SERVICES, YOU ACKNOWLEDGE THAT YOU HAVE
             READ AND UNDERSTOOD THE TERMS AND CONDITIONS OF THIS AGREEMENT AND YOU AGREE
             TO BE BOUND BY THESE TERMS AND CONDITIONS.




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                                                                                           EXHIBIT B, Page 15 of 15
file:///Server2012R2/...ite%20Pages/Angie's%20List%20Legal%20Center%20-%20SP%20User%20Agreement%20-%20version%202.0.html[7/15/2019 4:00:19 PM]
Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 69 of 77 Page ID #:511




                        EXHIBIT “C”
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 70 of 77 Page ID #:512



                                                                                                    Legal Center


             Privacy Policy

             Service Provider's User Agreement

             Terms of Use

             Projects Submission Customer Agreement

             Advertising and Deals Agreement

             Angie's List Mobile Alerts Terms and Conditions




             Privacy Policy
              Version1.0
              Version 1.0(Current)
                           (Current)

             Effective April 7, 2017
             Download




             Angie's List Privacy Policy

             Last Modified February 13, 2017

             This Privacy Policy discloses our privacy practices and the possible uses of the information that we gather
             via http://www.angieslist.com/, our mobile application(s), and via other submissions by you to Angie's List
             (together, the "Site and Services"). By using the Site and Services you consent to the terms of this Privacy
             Policy. If you do not agree to the terms and conditions of this Privacy Policy, including having your
             personally identifiable information ("Personal Information" as defined below) used in any of the ways
             described in this Privacy Policy, you may not be able to use certain parts or features of our Site and
             Services, and in some instances, this may necessitate the revocation of your membership. Angie's List may
             update this Privacy Policy from time-to-time in our sole discretion. It is your responsibility to review the
             Privacy Policy for any changes each time that you use the Site and Services and you are bound by such
             changes. Your use of the Site and Services following us posting a new privacy policy on our Site signifies
             that you agree to and accept the Privacy Policy as modified.

             This Privacy Policy applies to the entire Angie's List family of products and services, such as our online
             services, our print publications, our call center services, and other Angie's List products or services. This
             Privacy Policy is part of our Angie's List Membership Agreement, Terms of Use, and all other terms of using

                                                                                               EXHIBIT C, Page 1 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 71 of 77 Page ID #:513
             our Site and Services.

             Information Collected

             Angie's List collects information on our users in various ways, such as, by your voluntary submissions,
             participation in services provided via the Site and Services, from third parties with your consent, and through
             cookie and other tracking technology. Angie's List collects the following information:

                     Personal Information

             "Personal Information" refers to information that tells us specifically who you are, such as your name, phone
             number, email, postal address, and possibly information relating to certain support or customer service
             issues. In many cases, we need this information to provide to you many of the services that you may have
             requested.

                     Cellular Phone Numbers

             By providing a cellular telephone number to us, you expressly consent to, and authorize us or a third party
             on our behalf to deliver autodialed or prerecorded telemarketing calls and/or text messages to the number
             you provide. You are not required to consent to these calls as a condition to purchasing any goods or
             services, but withholding your consent may prevent us from providing certain services to you. This consent
             encompasses all future autodialed or prerecorded telemarketing calls and text messages from us or a third
             party placing these calls on our behalf. You may revoke consent to receive text messages at any time by
             contacting Angie’s List, including by texting STOP.

                     Submission of Reviews, Ratings, and Comments

             We collect information that you voluntarily provide as part of our Site and Services, including messages,
             posts, comments, responses, reviews, and ratings you submit through the Site and Services, ("User
             Generated Content"). Angie's List may in our sole discretion share your User Generated Content with others
             such as your business reviews. If you do not want certain information shared with others, you should not
             submit User Generated Content, or should not submit User Generated Content that contains information or
             Personal Information you do not want shared in this manner. Once You have submitted User Generated
             Content, we reserve the right to publish it in any medium to others.

                     Aggregate Information

             We may collect general, non-personal, statistical information about the use of the Site and Services, such
             as how many visitors visit a specific page on the Site, how long they stay on that page, and which
             hyperlinks, if any, they click on. This information represents a generic overview of our users, including their
             collective viewing habits, and allows us and other third parties to modify information, promotions, offers
             and/or discounts on products and services based on user traffic and behavior. We collect this information
             through the use of technologies such as 'cookies' and web beacons, which are discussed in greater detail
             below. We collect this information in order to help enhance the Site and Services to make for a better visitor
             experience.

                     Third Party Information

             We may supplement information you provide to us with information from other sources, such as information
             to validate or update your address, payment card or other demographic and lifestyle information. We use
             this information to help us maintain the accuracy of the information we collect, to enable us to fulfill our
                                                                                               EXHIBIT C, Page 2 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 72 of 77 Page ID #:514
             products and services, to target our communications so that we can inform you of products, services and
             offers that may be of interest, and for internal business analysis or other business purposes consistent with
             our mission.

                     Cookies

             Angie's List may automatically collect non-personally identifiable information and data through the use of
             cookies. Cookies are small text files a website uses to recognize repeat users, facilitate the user's ongoing
             access to the website and facilitate the use of the website. Cookies also allow a website to track usage
             behavior and compile site usage information that will allow for the improvement of content and target
             advertising. Most browsers allow you to control cookies, including whether or not to accept them and how to
             remove them. You may set your browsers to notify you if you receive a cookie, or you may choose to block
             cookies with your browser. However, please be aware that some features of our Site and Services may not
             function or may be slower if you refuse cookies. You may also get cookies from our advertisers or other third
             parties with links on the Site as described below. We do not directly control these cookies. The use of
             advertising cookies sent by third party ad servers is standard in the Internet industry.

             We may use the services of third parties to collect and use anonymous information about your visits to and
             interactions with our website through the use of technologies such as cookies to personalize advertisements
             for goods and services. To learn more, or to opt-out of

             receiving online display advertisements tailored to your interests by our third party partners, visit the Digital
             Advertising Alliance Consumer Choice Page at http://www.aboutads.info/choices/.

                     Other Tracking Technologies

             Tracking technologies may record information such as Internet domain and host names; protocol (IP)
             addresses; browser software and operating system types; clickstream patterns; the MAC address or other
             technical information from your mobile device; location information through GPS, WiFi, Bluetooth, or similar
             technologies; and dates and times that our Site and Services are accessed. An IP address is a number that
             is automatically assigned to your computer whenever you are surfing the web. Web servers, the computers
             that 'serve up' webpages, automatically identify your computer by its IP address. The Site and Services may
             also use technology called "tracer tags". These may also be referred to as "Pixels", "Clear GIFs" or "Web
             Beacons". This technology allows us to understand which pages you visit on our Site and other ways you
             interact with our Site and Services, such as purchases made through the Site and Services. These tracer
             tags are used to help us to optimize and tailor our Site and Services for you and other users of our Site and
             Services. We may link the information we record using tracking technologies to Personal Information we
             collect.

                     Do Not Track

             Do Not Track (DNT) is a privacy preference that users can set in some web browsers, allowing users to opt
             out of tracking by websites and online services. At the present time, the World Wide Web Consortium (W3C)
             has not yet established universal standards for recognizable DNT signals and therefore, Angie’s List and the
             Site do not recognize DNT.

             Use of Information

             The information Angie's List collects is used in a variety of ways, including

                                                                                               EXHIBIT C, Page 3 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 73 of 77 Page ID #:515
                     for internal review;

                     to improve the Site and Services;

                     to optimize third-party offers of products and/or services;

                     to verify the legitimacy of reviews and ratings;

                     to notify you about updates to the Site and Services;

                     to let you know about products, services, and promotions that you may be interested in;

                     to get reviews and ratings;

                     for our marketing purposes and the marketing of discounts offered through our Site and Services by
                     service contractors or health care related providers (collectively "Service Providers");

                     to fulfill and provide products and services, including personalized or enhanced services, requested
                     by you; and

                     internal business analysis or other business purposes consistent with our mission; and to carry out
                     other purposes that are disclosed to you and to which you consent.

             Disclosures and Transfers of Information

             We do not disclose Personal Information to third parties, except when one or more of the following
             conditions is true:

                     We have your permission to make the disclosure;

                     The disclosure is necessary for the purpose for which the personal information was obtained;

                     The disclosure is to the service provider from whom you purchased services through Angie’s List’s
                     platform, including without limitation Big Deals, Storefronts, and project submissions;

                     The disclosure is to financial service providers in order to fulfill and carry out the purchase and
                     provision of goods and services requested by you;

                     The disclosure is permitted by relevant law;

                     The Personal Information to be disclosed is otherwise publicly available in accordance with the
                     applicable law;

                     The disclosure is reasonably related to the sale or other disposition of all or part of our business or
                     assets;

                     The disclosure is for our own marketing purposes (including, without limitation, for Angie’s List to
                     market services to you on third-party social media platforms such as Facebook), or, with your
                     authorization, for the marketing purposes of third parties;

                     The disclosure is combined with information collected from other companies and used to improve and
                     personalize services, content, and advertising from us or third parties;

                     The party to whom the disclosure is made controls, is controlled by, or is under common control with
                     Angie's List;

                                                                                               EXHIBIT C, Page 4 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 74 of 77 Page ID #:516
                     The disclosure is in our sole discretion necessary for the establishment or maintenance of legal
                     claims or legal compliance, to satisfy any law, regulation, subpoena or government request, or in
                     connection with litigation;

                     The disclosure is in our sole discretion about users who we believe are engaged in illegal activities or
                     are otherwise in violation of our Angie's List Membership Agreement, even without a subpoena,
                     warrant or court order; or

                     The disclosure is to outside businesses to perform certain services for us, such as maintaining our
                     Site and Services, mailing lists, processing orders and delivering products and services, sending
                     postal mail, processing claims for lost or stolen certificates, providing marketing assistance,
                     confirming your identity for review integrity, and data analysis ("Administrative Service Providers"),
                     including Administrative Service Providers outside the country or jurisdiction in which you reside.

             Prior to sharing of your Personal Information with others, agreements are made between Angie's List and
             such outside parties to whom we are transferring data to provide for the allowable use and security of the
             transferred information in accordance with this Privacy Policy and applicable law. If Angie's List becomes
             aware that any such outside party is improperly using or disclosing Personal Information, it will notify that
             outside party and request that it take reasonable steps to cease such use or disclosure.

             We may provide certain Personal Information as a service to others for their marketing purposes. We may
             also disclose your name and address to Service Providers when you submit User Generated Content
             relating to those Service Providers. If you properly notify us that you no longer want us to share your
             Personal Information, we will cease sharing your Personal Information. However, except as otherwise stated
             in this Privacy Policy, we do not directly control the third parties to which we share such Personal
             Information and you will need to further notify such third parties directly if you would like them to cease use
             of your Personal Information.

             We may also disclose aggregate visitor data in order to describe the use of the Site and Services to our
             existing or potential business partners or other third parties, or in response to a government request. We
             may also share aggregated demographic and preference data with third parties to enable the provision of
             targeted information, promotions, offers and/or discounts on products and services.

             Choice: Accessing Your Information and Opt-in/Opt-out Requests

             To help you review, edit, and control how we use much of the information we collect about you, you can visit
             your "Manage My Accounts" webpage. On the "Manage My Accounts" webpage, you can update certain
             information and unsubscribe from receiving specific types of email messages and telephone calls, including
             autodialed or pre-recorded telemarketing calls placed by us or a third party on our behalf. You may also
             unsubscribe from our monthly digital magazine, which is a benefit that is included with your subscription.
             You cannot, however, unsubscribe from receiving certain emails, such as account status and billing related
             emails, unless you close your account and fulfill any existing contractual obligations.

             You can also ask us whether we are keeping information about you; ask how your information is being
             used; ask us to update or correct your information; or opt-out of our collection and use of certain information
             by sending an email to helpdesk@angieslist.com or by writing us at Help Desk, Angie's List, 1030 E.
             Washington St., Indianapolis, IN 46202 specifying the nature and scope of your request. If you choose to
             opt-out of the collection and use of certain of your information, you understand that some services, may no

                                                                                               EXHIBIT C, Page 5 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 75 of 77 Page ID #:517
             longer be available to you, potentially requiring the cancelation of your Membership. Please state in your
             correspondence the details of your request. We may require proof of your identity before we provide you
             with the requested information. We allow you to challenge the data that we hold about you and, where
             appropriate, you may have certain data erased, rectified, amended, or completed. Approved requests will be
             processed within ten (10) days of the date on which we receive the request.

             Data Security, Integrity, and Access

             The Personal Information you provide and we collect is stored within databases that we control directly or
             through our Administrative Service Providers. As we deem appropriate and as required by the applicable
             law, we use security measures appropriate for the sensitivity of the Personal Information and consistent with
             industry standards, including physical, organizational and technological protections, such as firewalls, to
             protect your Personal Information. We also use industry standard encryption technology to protect credit
             card and password information. However, since no security system is impenetrable, we cannot guarantee
             the security of our databases, nor can we guarantee that information you supply will not be intercepted while
             being transmitted to us over the Internet.

             Personal Information may only be accessed by persons within our organization, our third party service
             providers who require such access to provide you with the services indicated above, or any other party that
             you have provided us with authorization to share such information with.

             We retain Personal Information that we collect only as long as reasonably necessary to fulfill the purposes
             for which it was collected or to otherwise meet any legal requirements.

             Your information may be transferred to, and maintained on, computers located outside of your state,
             province/territory, or country where the privacy laws may not be as protective as those where you live. If you
             are located outside the United States and choose to provide information to us, please be aware that we
             transfer Personal Information to the United States and process and store it there. As a result, this
             information may be subject to access requests from governments, courts, law enforcement officials and
             national security authorities in the United States according to its laws. Subject to the applicable laws, we will
             use reasonable efforts to ensure that appropriate protections are in place to maintain protections on the
             Personal Information. By submitting your Personal Information, you consent to having your personal data
             transferred to, processed, and stored in the United States. Angie's List may assign you a user ID and a
             password when you as part of your participation and access to the Site and Services. Your user ID and
             password may only be used by you and the members of your household. You may not share your user ID
             and password with anyone else, and you are solely responsible for maintaining and protecting the
             confidentiality of your user ID and password. You are fully responsible for all activities that occur under your
             user ID and password. You can access and update your login information on your "Manage My Accounts"
             webpage.

             Credit Card Information

             We may share credit card information with trusted third parties in order to bill you for our service. We use
             third parties for secure credit card transaction processing, and we send billing information to those third
             parties to process your orders and payments or to validate your credit card information on file. Credit card
             information is encrypted during transmission and whenever stored within our systems or with our vendors. In
             addition to utilizing encryption that meets the US Government’s FIPS 140-2 Certification, we take care to
             store only the amount of information required to bill you for services.
                                                                                               EXHIBIT C, Page 6 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 76 of 77 Page ID #:518
             Our credit card processing vendors use security measures to protect your information both during the
             transaction and after it’s complete. Credit card processing vendors are certified as compliant with multiple
             industry-standard compliance frameworks including the Payment Card Industry (PCI) Service Provider Level
             1, the SSAE-16 audit standard.

             Third Party Websites and Links

             Please note that you may have cookies placed on your computer by third party websites that refer you to
             the Site. Although we do not share your Personal Information with these third party websites unless you
             have authorized us to do so, they may be able to link certain non-personally identifiable information we
             transfer to them with Personal Information they previously collected from you. Please review the privacy
             policies of each website you visit to better understand their privacy practices. In addition, Angie's List would
             like to inform you that anytime you click on links (including advertising banners), which take you to third
             party websites, you will be subject to the third parties' privacy policies. While we support the protection of
             our customer's privacy on the Internet, Angie's List expressly disclaims any and all liability for the actions of
             third parties, including but without limitation to actions relating to the use and/or disclosure of Personal
             Information by third parties.

             Our Site and Services may contain links to other sites operated by third parties. Angie's List does not control
             such other sites and is not responsible for their content, their privacy policies, or their use of Personal
             Information. Angie's List's inclusion of such links does not, by itself, imply any endorsement of the content
             on such sites or of their owners or operators except as disclosed on the Site and Services. Any information
             submitted by you directly to these third parties is subject to that third party's privacy policy.

             Children's Privacy

             Angie's List does not intend the Site and Services to be used by individuals under the age of majority within
             the jurisdiction within which they reside without the supervision of a parent or guardian of majority age.
             Angie's List relies upon such parents or guardians to determine if the Site and Services is appropriate for
             the viewing, access, or participation by such individuals under the age of majority. If an individual under the
             age of majority uses the Site and Services, such individual may only use the Site and Services under the
             supervision of a parent or guardian of majority age.

             We do not seek or knowingly collect any Personal Information about children under 13 years of age. If we
             become aware that we have unknowingly collected Personal Information from a child under the age of 13,
             we will make commercially reasonable efforts to delete such information from our database.

             If you are the parent or guardian of a minor child who has provided us with Personal Information, you may
             contact us using the information below to request it be deleted.

             Governing Law; Visitors Residing Outside the United States

             This Privacy Policy and the privacy practices of Angie's List will be subject exclusively to the laws in which
             Angie's List provides its services.

             Your California Privacy Rights

             This privacy policy describes how we may share your information for marketing purposes. It applies to all
             Angie’s List customers, including California residents:

                                                                                               EXHIBIT C, Page 7 of 8
file:///Server2012R2/...20Website%20Pages/Angie's%20List%20Legal%20Center%20-%20Privacy%20policy%20-%20version%201.0.html[7/15/2019 3:58:17 PM]
Angie's List Legal Center
             Case 2:19-cv-08704-ODW-SS Document 33 Filed 06/03/20 Page 77 of 77 Page ID #:519
                     We share information with others as more fully set forth above in Disclosures and Transfers of
                     Information.

                     We share your information with other parts of our business and with our service providers. See
                     above: Disclosures and Transfers of Information.

             You may contact us with any questions, or to request a list of third parties to whom we may disclose
             information for marketing purposes and the categories of information we may disclose. See below:
             How to Contact us.

             How To Contact us

             All requests, questions, concerns, or complaints about your Personal Information or this Privacy Policy,
             please contact our Privacy Officer by mail or email at the following:

             Attn: Privacy Officer

             Angie's List

             1030 E. Washington St.

             Indianapolis, IN 46202

             E-mail: privacyofficer@angieslist.com

             We welcome your questions and comments.




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                                                                                               EXHIBIT C, Page 8 of 8
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